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     1               UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
     2                     EASTERN DIVISION
     3
            IN RE: NATIONAL                 )
     4      PRESCRIPTION                    )   MDL No. 2804
            OPIATE LITIGATION               )
     5      _____________________           )   Case No.
                                            )   1:17-MD-2804
     6                                      )
            THIS DOCUMENT RELATES           )   Hon. Dan A.
     7      TO ALL CASES                    )   Polster
     8
                        WEDNESDAY, AUGUST 1, 2018
     9
            HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10               CONFIDENTIALITY REVIEW
    11                        – – –
    12              Videotaped deposition of Nathan J.
    13    Hartle, held at the offices of Covington &
    14    Burlington, LLP, One City Center, 850 Tenth
    15    Street Northwest, Washington, DC, commencing
    16    at 9:03 a.m., on the above date, before
    17    Carrie A. Campbell, Registered Diplomate
    18    Reporter, Certified Realtime Reporter,
    19    Illinois, California & Texas Certified
    20    Shorthand Reporter, Missouri & Kansas
    21    Certified Court Reporter.
    22                       – – –
                   GOLKOW LITIGATION SERVICES
    23         877.370.3377 ph | 917.591.5672 fax
                         deps@golkow.com
    24
    25

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    24          USA, Inc., Cephalon, Inc., Watson
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    25          Pharma, Inc., f/k/a Watson Pharma

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    17          DANIEL HOLMSTOCK,
                Golkow Litigation Services
    18
    19    TRIAL TECHNICIAN:
                COREY SMITH,
    20          Golkow Litigation Services
    21                        – – –
    22
    23
    24
    25

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      1                       VIDEOGRAPHER:         We are now on
      2             the record.
      3                       My name is Daniel Holmstock.                I
      4             am the videographer for Golkow
      5             Litigation Services.
      6                       Today's date is August 1, 2018.
      7             The time is 9:03 a.m.
      8                       This deposition is being held
      9             at the law offices of Covington &
     10             Burling, LLP, at 850 Tenth Street,
     11             Northwest, in Washington, DC, in the
     12             matter of In Re: National Prescription
     13             Opiate Litigation, pending before the
     14             United States District Court for the
     15             Northern District of Ohio, Eastern
     16             Division, Case Number 1:17-MD-2804.
     17                       The deponent today is Mr. Nate
     18             Hartle.
     19                       Will counsel please introduce
     20             themselves and whom they represent.
     21                       MR. RAFFERTY:         Troy Rafferty on
     22             behalf of the plaintiffs.
     23                       MR. BOGLE:       Brandon Bogle on
     24             behalf of the plaintiffs.
     25                       MR. PAPANTONIO:          Mike

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      1             Papantonio on behalf of the
      2             plaintiffs.
      3                       MR. FARRELL:        Paul Farrell on
      4             behalf of plaintiffs.
      5                       MR. SUDDATH:        Tom Suddath on
      6             behalf of AmerisourceBergen.
      7                       MR. PELINI:        Craig Pelini on
      8             behalf of Prescription Supply.
      9                       MR. FAUVRE:        David Fauvre on
     10             behalf of the Endo and Par
     11             Pharmaceutical defendants.
     12                       MR. DAVISON:        William Davison
     13             on behalf of Mallinckrodt LLC, and
     14             SpecGx LLC.
     15                       MR. LOVRIEN:        Chris Lovrien,
     16             Jones Day, on behalf of Walmart.
     17                       MS. PETERSEN:         Miranda
     18             Petersen, Williams & Connolly, on
     19             behalf of Cardinal Health.
     20                       MR. LIVINGSTON:          Scott
     21             Livingston on behalf of HBC.
     22                       MR. O'CROININ:         Conor O'Croinin
     23             on behalf of CVS.
     24                       MS. MONAGHAN:         Meghan Monaghan
     25             from Covington & Burling on behalf of

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      1             McKesson and the witness.
      2                       MS. HENN:       Emily Henn on behalf
      3             of McKesson and the witness.
      4                       VIDEOGRAPHER:         Okay.     Will the
      5             court reporter please administer the
      6             oath?
      7                       Telephone, sorry, yes.             Yeah,
      8             telephone?
      9                       MS. PEDROZA:        Monica Pedroza on
     10             behalf of Teva Pharmaceuticals USA,
     11             Inc., Cephalon Inc., Watson
     12             Laboratories, Inc., Actavis, LLC and
     13             Actavis Pharma, Inc.
     14                       MR. LADD:       Matthew Ladd on
     15             behalf of Rite Aid.
     16                       MR. AUBEL:       Bill Aubel, Jackson
     17             Kelly, on behalf of Miami-Luken, Inc.
     18                       VIDEOGRAPHER:         Okay.
     19                       MR. RAFFERTY:         Anybody else?
     20                       VIDEOGRAPHER:         The court
     21             reporter is Carrie Campbell, who will
     22             now administer the oath.
     23

     24                         NATHAN J. HARTLE,
     25    of lawful age, having been first duly sworn

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      1    to tell the truth, the whole truth and
      2    nothing but the truth, deposes and says on
      3    behalf of the Plaintiffs, as follows:
      4

      5                       DIRECT EXAMINATION
      6    QUESTIONS BY MR. RAFFERTY:
      7             Q.        Could you state your name,
      8    please?
      9             A.        Nathan John Hartle.            I go by
     10    Nate.
     11             Q.        Mr. Hartle, my name is Troy
     12    Rafferty.       I'm going to be asking you some
     13    questions today.
     14                       Okay?
     15             A.        Okay.
     16             Q.        Who is your current employer?
     17             A.        McKesson Corporation.
     18             Q.        Okay.     What is your current
     19    position?
     20             A.        I'm currently the vice
     21    president of compliance -- regulatory affairs
     22    and compliance.
     23             Q.        Vice president of regulatory
     24    affairs and compliance.
     25             A.        Correct.

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      1             Q.        Is that a new position?
      2             A.        It is a new position, new
      3    title, as of July 1st.             Prior to that, I
      4    was -- senior director of regulatory affairs
      5    was my title.
      6             Q.        Senior director of regulatory
      7    affairs for the retail national accounts or
      8    in some other capacity?
      9             A.        Correct.       For the retail
     10    national accounts.           The new title, I will be
     11    taking on the statistics and analytics team
     12    here shortly.
     13             Q.        Okay.     So is that a
     14    different -- the title is different, but is
     15    the position different from what you had
     16    before?
     17             A.        I maintain the certain
     18    regulatory -- or the chain responsibilities,
     19    and in addition to that will be statistics
     20    and analytics.
     21                       (McKesson-Hartle Exhibit 41
     22             marked for identification.)
     23    QUESTIONS BY MR. RAFFERTY:
     24             Q.        Okay.     I'm going to show you --
     25                       MR. RAFFERTY:         If we could pull

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      1             up, Corey, 1.795, which we will mark
      2             as Exhibit 41 to the deposition.
      3    QUESTIONS BY MR. RAFFERTY:
      4             Q.        Okay.     What I'm showing you --
      5    I'm going to show you some documents
      6    throughout the deposition, Mr. Hartle.                    I'm
      7    going to direct you to certain areas.                    If
      8    there's a different part that you want to
      9    look at or if you want to take a minute to
     10    review, I'm fine with that.               Just let me
     11    know.
     12                       Okay?
     13             A.        Okay.
     14             Q.        But to try and keep things
     15    moving, we're under a time -- you know, I've
     16    only got a certain amount of time, so I'm
     17    going to try and direct you to those areas.
     18                       Okay?
     19             A.        Understood.
     20             Q.        All right.       What we have here,
     21    if you look, is something entitled
     22    "McKesson's Controlled Substance Monitoring
     23    Program, Regulatory Affairs Training."
     24                       Do you see that?
     25             A.        I do.

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      1             Q.        Okay.     And I will represent to
      2    you that there's not a date on this, but we
      3    looked at the production, and there's
      4    something referred to as metadata that
      5    established that this was produced
      6    December 31, 2015.
      7                       Okay?
      8                       You were there in your role as
      9    senior director of retail and national
     10    accounts, correct?
     11             A.        Correct.
     12             Q.        You started there when?             In
     13    McKesson.
     14             A.        In May of 2014.
     15             Q.        May of 2014.        Okay.
     16                       And you maintained that same
     17    position in charge of retail national
     18    accounts until July of this year when your
     19    position changed, correct, or your title
     20    changed?
     21             A.        Title changed, yeah.            And I've
     22    added different responsibilities, but I've
     23    always had the chain responsibility.
     24             Q.        So you've added additional
     25    responsibilities, yes?

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      1             A.        Correct.
      2             Q.        Okay.     If you'll turn to
      3    page .9, I want to just make sure I
      4    understand who -- where you sit in the
      5    hierarchy of McKesson.             Okay?
      6                       And in particular, US pharma is
      7    the division of McKesson that handles and
      8    sells the narcotics, right?               That's the
      9    division?
     10             A.        Correct.       Correct.
     11             Q.        Okay.     So if you look up here,
     12    you've got regulatory affairs, retail
     13    national accounts, and it says, "Nate Hartle,
     14    senior director," right?
     15             A.        It does.
     16             Q.        Nobody above you?
     17             A.        Not on this slide.
     18             Q.        Not on that.        Not in terms of
     19    retail national accounts?
     20             A.        Correct.
     21             Q.        Okay.     Because there's one
     22    other person, a vice president, I think, at
     23    the time, Krista Peck?
     24             A.        Senior vice president.
     25             Q.        Senior vice president.

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      1                       Okay.     So -- and we'll look at
      2    that in just a minute.             But you have
      3    underneath you some direct reports, including
      4    Micheal Bishop.
      5                       Do you know who Micheal Bishop
      6    is?
      7             A.        I do.
      8             Q.        Okay.     Michael Oriente.           Do you
      9    know who that is?
     10             A.        I do.
     11             Q.        Okay.     Jay Espaillat?
     12             A.        Espaillat.
     13             Q.        Espaillat.
     14                       And then Adam Palmer, who
     15    reports to Michael Oriente.
     16                       Do you see that?
     17             A.        I do.
     18             Q.        And then Jennifer Sheffield,
     19    the regulatory affairs admin?
     20             A.        Yeah.
     21             Q.        Okay.     And that was your team,
     22    right?
     23             A.        Was, yeah.       It's changed over
     24    time.
     25             Q.        Okay.     It's changed.         In

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      1    fact -- yeah.         Okay.
      2                       So if we go now to point --
      3    well, how long was that your team?                  How long
      4    did you have -- in particular looking at the
      5    director of regulatory affairs, Michael
      6    Oriente, and Micheal Bishop, the regulatory
      7    affairs manager, how long were they with you?
      8             A.        So it's evolved.          When I --
      9    Michael joined the team -- Michael, Adam
     10    Palmer -- well, two Michaels and Adam Palmer
     11    joined the team in 2014.              Jay was added -- I
     12    can't remember the exact time frame, but
     13    right around in 2015.             He supports some work
     14    I do for the entire regulatory affairs team
     15    focused on threshold methodology and some
     16    advancements we made.
     17             Q.        Okay.     All right.        My specific
     18    question is how long they've been with you.
     19             A.        How long --
     20             Q.        How long were they on your
     21    team?
     22             A.        Michael's been on the team
     23    since 2014.        Adam's been 2014.           Jay's been
     24    2015.
     25             Q.        Okay.

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      1             A.        Micheal Bishop is no longer
      2    here.     We've had some adjustments.
      3             Q.        But he was with you until 2018,
      4    correct?
      5             A.        Yes.
      6             Q.        Okay.     Let's take a look now at
      7    the US pharma regulatory affairs.                  And the
      8    reason I want to do this is I want to make
      9    sure I know when we're talking today and
     10    you're answering questions, in what capacity
     11    you're answering them in terms of the
     12    hierarchy of regulatory affairs at McKesson.
     13                       Okay?
     14             A.        Understood.
     15             Q.        All right.
     16                       MR. RAFFERTY:         So if we could,
     17             turn to page .4, Corey.
     18    QUESTIONS BY MR. RAFFERTY:
     19




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      9    QUESTIONS BY MR. RAFFERTY:
     10




     16             Q.        Okay.     And if we look at the
     17    hierarchy here, there's Gary -- okay, Krista
     18    Peck, who is the senior vice president.                     I
     19    assume above her is the president of
     20    McKesson?
     21             A.        Correct.
     22             Q.        Okay.     That's Mr. Hammergren
     23    right now?
     24             A.        No.    Above Krista or that
     25    position is the president of US pharma.

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      1             Q.        Of US pharma, I'm sorry.
      2    That's what -- okay.
      3                       And who was that at the time;
      4    do you remember?
      5             A.        It was Mark Walchirk.
      6             Q.        Okay.     So you got Krista Peck,
      7    who is one step away from the president of US
      8    pharma, right?
      9             A.        Correct.
     10             Q.        And then right below her you've
     11    got Nate Hartle sitting there as senior
     12    director, right?
     13             A.        Correct.
     14             Q.        You got Lisa Young as the
     15    senior director for the west region, right?
     16             A.        Correct.
     17             Q.        And then Gary Boggs is the
     18    senior director for the east region, right?
     19             A.        Correct.
     20             Q.        Okay.     So there were two
     21    regions, east and west, and then you, who
     22    covered, I assume, regional national -- I
     23    always say regional national account --
     24    retail national accounts for the entire
     25    country, correct?

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      1             A.        Yes, that's correct.
      2             Q.        Okay.     Now, when we talk about
      3    the retail national accounts, we're talking
      4    about -- that you were in charge of, we're
      5    talking about the Rite Aids, CVS, Walgreens,
      6    Walmarts and a bunch of others that I'm not
      7    listing, right?
      8             A.        A variety of chains.
      9             Q.        Chains.      Okay.
     10             A.        Chains is the best way to talk
     11    about it.
     12             Q.        Okay.     But literally thousands
     13    of stores in those chains, right?
     14             A.        In some of them.
     15             Q.        In some of them.
     16                       And you're over all of that?
     17             A.        Correct, those chains.
     18             Q.        From a regulatory controlled
     19    substance monitoring program standpoint,
     20    true?
     21             A.        True.
     22                       MS. HENN:       Objection to form.
     23    QUESTIONS BY MR. RAFFERTY:
     24             Q.        So tell me, how much of the
     25    business in terms of US pharma compared to

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      1    the -- because there's another category of
      2    stores called the -- I believe you refer to
      3    them as ISMCs; is that right?
      4             A.        Correct.
      5             Q.        Okay.     And that is the
      6    independent small medium chains?
      7             A.        Correct.
      8             Q.        Is that what that stands for?
      9             A.        That's what it stands for, yes.
     10             Q.        Okay.     All right.        And that's
     11    what Gary Boggs and Lisa Young would have
     12    been over in their regions?
     13             A.        Yes, that's part of their
     14    responsibility.
     15




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     24    QUESTIONS BY MR. RAFFERTY:
     25             Q.        Well, in fact, the two -- and

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      1    in fact -- I'm sorry.             And if I speak over
      2    you at any time, it's just -- it's just a
      3    habit, and so I apologize.               And so just let
      4    me know, or I'm sure Ms. Henn will let me
      5    know, and I'll try not to do that.
      6




     25

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     11    QUESTIONS BY MR. RAFFERTY:
     12             Q.        Okay.     Thank you.
     13                       All right.       I want to talk for
     14    a few minutes about the opioid epidemic in
     15    the United States.
     16                       First of all, you agree that
     17    there is, in fact, an opioid epidemic in the
     18    United States, true?
     19             A.        I do agree.
     20             Q.        And that epidemic has been
     21    going on for years, correct?
     22             A.        Based on what I read and what I
     23    know, absolutely.
     24



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     13             Q.        Okay.
     14             A.        It's why I do what I do.
     15             Q.        All right.       In fact, you would
     16    agree that this epidemic has had a
     17    devastating effect on public health and
     18    welfare throughout the country, true?
     19             A.        It has.
     20             Q.        And in fact, you have spoken
     21    and actually given presentations about the
     22    opioid epidemic in the country, correct?
     23             A.        I have.
     24             Q.        In fact, would you agree that
     25    the opioid epidemic in the United States of

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      1    America is the deadliest drug epidemic on
      2    record in our country's history?
      3             A.        I'm not an epidemiologist, but
      4    I would believe, yes.
      5             Q.        Okay.     Well, let's look at
      6    1437.3, which we will mark as Exhibit 41 --
      7    42.
      8                       (McKesson-Hartle Exhibit 42
      9             marked for identification.)
     10    QUESTIONS BY MR. RAFFERTY:
     11




     16             Q.        Okay.     And it appears, though
     17    this one does have a date on it, it's
     18    September 29, 2017.            So not really all that
     19    long ago, right?
     20             A.        Correct.
     21             Q.        Okay.     Less than a year ago,
     22    right?
     23             A.        That is.
     24             Q.        And you see down there Nate
     25    Hartle, senior director, regulatory affairs,

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      1    right?
      2             A.        Yeah, it's my document.
      3             Q.        Okay.     Do you recall giving
      4    this presentation?
      5             A.        I do.
      6                       MR. RAFFERTY:         If we could,
      7             let's turn to .3, Corey.
      8    QUESTIONS BY MR. RAFFERTY:
      9             Q.        You see that up in the top of
     10    one of your slides there on page 3, a
     11    headline, "Deadliest Drug Epidemic on Record
     12    in Our Nation's History"?
     13                       Do you see that?
     14             A.        Yep.
     15             Q.        You wouldn't have put that in
     16    your presentation unless you thought it was
     17    true, right?
     18             A.        No.
     19             Q.        So you don't dispute that,
     20    right?
     21             A.        I do not.
     22             Q.        Okay.     It then goes on and
     23    says, "The drug problems of past decades pale
     24    when compared to the current opioid epidemic
     25    which has killed 165,000 Americans from 2000

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      1    to 2014."
      2                       Did I read that right?
      3             A.        You did.
      4             Q.        Okay.     Once again, you agree
      5    with that statement, right?
      6             A.        These are part of the
      7    presentation that I gave.
      8             Q.        Okay.     If we now go to the next
      9    page, page 4, it says over there, "Scope of
     10    the problem."         On an average day, an average
     11    day in the US, more than 650,000 opioid
     12    prescriptions are dispensed.
     13                       Do you see that?
     14             A.        I do.
     15             Q.        3,900 people initiate
     16    non-medical use of prescription opioids, and
     17    then it says 580 people initiate heroin use.
     18                       You see that?
     19             A.        I see those.
     20             Q.        And in fact, opioid abuse and
     21    addiction is a gateway to heroin use and
     22    addiction, correct?
     23                       MS. HENN:       Objection to form.
     24                       THE WITNESS:        I'm not a medical
     25             expert, but, you know, I've read

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      1             things, I use data from different
      2             sources, and they say that.
      3    QUESTIONS BY MR. RAFFERTY:
      4             Q.        I don't -- okay.          As head of
      5    regulatory affairs and the controlled
      6    substance monitoring program for national
      7    chains of McKesson, would you agree that in
      8    fact narcotic painkiller abuse, opioid abuse,
      9    is a gateway to heroin use?
     10                       MS. HENN:       Objection to form.
     11                       THE WITNESS:        I would agree
     12             that it can be, yeah.
     13    QUESTIONS BY MR. RAFFERTY:
     14             Q.        Okay.     And in fact, 78 people
     15    die from an opioid-related overdose every day
     16    according to your slide.
     17                       Do you see that?
     18             A.        I see that.
     19             Q.        In fact, if you go on to your
     20    presentation, page 16, .16, talking about the
     21    heroin use, it says -- or what you say in
     22    your presentation, or what you put in your
     23    presentation, was people who are addicted
     24    to -- and then it says, "Opioid painkillers
     25    are 40 times more likely to be addicted to

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      1    heroin."
      2                       Do you see that?
      3             A.        I see that.
      4             Q.        And you agree with that?
      5             A.        I put them in the slides as
      6    part of the information that I keep current
      7    on.
      8             Q.        You agree with that?
      9             A.        Again, I'm not an expert in
     10    terms of numbers, but I agree with what
     11    they're putting out.
     12             Q.        Okay.
     13             A.        The concepts --
     14             Q.        And you wouldn't have put it
     15    out there if you thought it was inaccurate,
     16    right?
     17             A.        I would not have.
     18             Q.        Okay.     Talking about the
     19    heroin, the gateway to heroin, if we could,
     20    let's have 1580.
     21                       (McKesson-Hartle Exhibit 43
     22             marked for identification.)
     23    QUESTIONS BY MR. RAFFERTY:
     24             Q.        This is another presentation
     25    that you gave, Mr. Hartle.               We'll mark this

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      1    as Exhibit 43.         This is another presentation
      2    that you gave.         If you look at this --
      3                       MR. RAFFERTY:         Corey, if you
      4             could pull it up, please, 1.580 --
      5             1.1580.
      6                       All right.       Just give me the
      7             Elmo.     I'll just use the Elmo.
      8    QUESTIONS BY MR. RAFFERTY:
      9             Q.        You see there it says,
     10    "Regulatory affairs update, RNA leadership
     11    team, Nate Hartle, senior director,
     12    regulatory affairs."
     13                       Do you see that?
     14             A.        Yes.
     15             Q.        November 20, 2015.
     16                       You see that?
     17             A.        I do.
     18             Q.        Okay.     Do you recall giving
     19    this presentation?
     20             A.        I'm going to scan through it
     21    real quick just so I can refresh --
     22             Q.        Well, let me -- and feel free
     23    to, but I'm just going to -- I'm going to
     24    start with the second page, so...
     25             A.        I -- I believe it was a

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      1    conference call, maybe.             I don't remember
      2    exactly all the details from back then, but
      3    this is my work, yeah.
      4             Q.        It doesn't matter.           This is
      5    your work.
      6             A.        Yeah.
      7             Q.        That's all I wanted to get.
      8




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      9                       MR. RAFFERTY:         Now, if we could
     10             have 1.1355, Corey, that we'll mark as
     11             Exhibit 44.
     12                       (McKesson-Hartle Exhibit 44
     13             marked for identification.)
     14    QUESTIONS BY MR. RAFFERTY:
     15             Q.        Oh, this is a document that
     16    says -- it's titled "Prescription Drug Abuse:
     17    The National Perspective."
     18                       It's got McKesson up there in
     19    the top right corner.
     20                       Do you see that?
     21             A.        I see that.
     22             Q.        And down by the bottom middle
     23    it's 2014, McKesson Corporation, correct?
     24             A.        Correct.
     25             Q.        Okay.     If we go into this and

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      1    you turn to the second page -- .2, Corey --
      2    and it talks about the current landscape,
      3    epidemic.
      4                       Do you see that?
      5             A.        I see that.
      6




     18             Q.        Okay.     In fact, your company
     19    has been in the business of selling opioid
     20    and narcotic painkillers for many years,
     21    hasn't it?
     22             A.        It has.
     23




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     23             Q.        That's right.
     24                       And in fact, what you said
     25    yesterday, so that we're clear, if I could

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      1    have the Elmo --
      2                       MR. RAFFERTY:         And this is
      3             yesterday's rough transcript at
      4             page 283, starting on line 17,
      5             Counsel.
      6    QUESTIONS BY MR. RAFFERTY:
      7




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      8                       MS. HENN:       Objection to form.
      9    QUESTIONS BY MR. RAFFERTY:
     10             Q.        Do you recall giving that
     11    testimony yesterday?
     12             A.        I do.
     13             Q.        Okay.     You understand that
     14    yesterday when you were sitting in that chair
     15    you were under oath, correct?
     16             A.        Absolutely.
     17             Q.        Okay.     Just like you are today?
     18             A.        Absolutely.
     19




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      9             Q.        And in fact, you've been -- you
     10    have faced investigations by the DEA and the
     11    Department of Justice in regards to your
     12    failure to prevent diversion of those
     13    narcotics in America, true?
     14                       MS. HENN:       Objection to form.
     15                       THE WITNESS:        Could you restate
     16             that?
     17    QUESTIONS BY MR. RAFFERTY:
     18




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     16             Q.        And in 2017, in the 2017
     17    settlement -- you've reviewed that, right?
     18             A.        I have.
     19             Q.        You were actually there as
     20    senior director of regulatory affairs during
     21    the time that McKesson was being investigated
     22    and at the time that that -- that agreement
     23    was entered into between McKesson and the
     24    Department of Justice, right?
     25                       MS. HENN:       Objection to form.

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      1                       THE WITNESS:        I was there
      2             during -- during that time.
      3    QUESTIONS BY MR. RAFFERTY:
      4




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     12    QUESTIONS BY MR. RAFFERTY:
     13             Q.        Why do you report suspicious
     14    orders, Mr. Hartle?            Is it just to check the
     15    box kind of thing?
     16                       MS. HENN:       Objection to form.
     17    QUESTIONS BY MR. RAFFERTY:
     18




     25

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     15             Q.        Now, you know that since
     16    2002 -- since 2002, the diversion of
     17    narcotics in the United States has resulted
     18    in an epidemic in the United States and
     19    incalculable costs to society.
     20                       Would you agree with that
     21    statement?
     22                       MS. HENN:       Objection to form.
     23                       THE WITNESS:        Can you say it
     24             once again, please?
     25

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      1    QUESTIONS BY MR. RAFFERTY:
      2             Q.        Yeah.
      3                       The costs are so high as a
      4    result of the epidemic in the United States
      5    of the use of narcotics that the GAO
      6    specifically said, "Diversion is a
      7    multi-billion dollar illicit market
      8    nationwide, and diversion is causing
      9    incalculable costs to society."
     10                       Have you ever seen that?
     11                       MS. HENN:       Objection to form.
     12




     18                       (McKesson-Hartle Exhibit 45
     19             marked for identification.)
     20    QUESTIONS BY MR. RAFFERTY:
     21             Q.        I'm attaching Exhibit 45, the
     22    May of 2002 GAO report.
     23                       Did you ever see a copy of
     24    this?     And it's a long document.               I'm going
     25    to just refer you to one particular piece.

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      1             A.        I don't think I've seen this
      2    specific document, no.
      3             Q.        You've never reviewed this?               In
      4    the five years you've been involved in
      5    monitoring the narcotics being sold by
      6    McKesson, you never went back and reviewed
      7    any of this?
      8                       MS. HENN:       Objection to form.
      9                       THE WITNESS:        I don't recall
     10             this specific one.
     11    QUESTIONS BY MR. RAFFERTY:
     12             Q.        All right.
     13             A.        I don't.
     14             Q.        Take a look at page --
     15                       MR. RAFFERTY:         For the record,
     16             that was P1.1076, which is now
     17             Exhibit 45 to the deposition.
     18    QUESTIONS BY MR. RAFFERTY:
     19             Q.        And if you could, look at the
     20    cover page --
     21                       MR. RAFFERTY:         Oh, I need the
     22             computer back, please.
     23    QUESTIONS BY MR. RAFFERTY:
     24             Q.        You see that, the GAO?             Are you
     25    familiar with the GAO?

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      1             A.        I am.
      2             Q.        United States government
      3    accounting office?
      4             A.        It's a part of some of the work
      5    in my previous career.
      6             Q.        Okay.     In May 2002,
      7    "Prescription drug state monitoring programs
      8    provide useful tools to reduce diversion."
      9                       Do you see that?
     10             A.        I see that.
     11             Q.        Okay.     And then if you turn to
     12    .6, "The diversion" -- down in background.
     13    It says, "The diversion and abuse" --
     14                       You see where it starts to say
     15    that?
     16             A.        I do.
     17             Q.        Why don't you read that first
     18    sentence for me out loud.
     19




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     19                       (McKesson-Hartle Exhibit 46
     20             marked for identification.)
     21    QUESTIONS BY MR. RAFFERTY:
     22             Q.        This will be Exhibit P1.851,
     23    which will be Exhibit 46 to the deposition.
     24                       Do you recall being shown this
     25    presentation earlier?

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      1             A.        I do remember this from
      2    yesterday.
      3             Q.        Okay.
      4                       MR. RAFFERTY:         If we could pull
      5             it up, Corey, please.            1.851.
      6                       Not that one.         That's 84.
      7             1.851.
      8                       There we go.        All right.
      9    QUESTIONS BY MR. RAFFERTY:
     10             Q.        "State of prescription drug
     11    abuse."       Once again, I'll tell you that the
     12    metadata -- because there's no date on this
     13    once again, but the metadata indicates that
     14    this was created September 30, 2015.
     15                       Okay?
     16             A.        Okay.
     17             Q.        All right.       At that time you
     18    were there at McKesson, senior director of
     19    regulatory affairs, right?
     20             A.        I was.
     21             Q.        And you know Gary Boggs?
     22             A.        I do know Gary.
     23             Q.        He was the senior director in
     24    charge of the east -- the east region,
     25    correct?

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      1                       MS. HENN:       Objection to form.
      2                       THE WITNESS:        He was and still
      3             is.
      4    QUESTIONS BY MR. RAFFERTY:
      5             Q.        Okay.     Now, in talking about
      6    the state of prescription drug abuse, down
      7    here at the bottom of this, if you look at
      8    that cover page, it says, "Privileged and
      9    confidential.         For internal use only."
     10                       Do you see that?
     11             A.        I see that.
     12




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     10    QUESTIONS BY MR. RAFFERTY:
     11             Q.        All right.       Let's look at what
     12    Mr. Boggs says in this in terms of the costs
     13    associated with this epidemic.
     14                       If you would, turn to page .7.
     15             A.        Can I ask a clarifying
     16    question?       You mentioned 2015.
     17             Q.        Yeah.
     18             A.        Maybe I'm wrong, but I thought
     19    yesterday we were talking about 2013, right
     20    around the time that when Gary joined.
     21             Q.        I don't -- all I can tell you
     22    is what the -- the material that was provided
     23    to me by McKesson and their counsel --
     24             A.        Okay.
     25             Q.        -- indicates that this was

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      1    produced in September of 2015.
      2             A.        Okay.
      3             Q.        Okay?
      4             A.        Okay.
      5




     24    QUESTIONS BY MR. RAFFERTY:
     25             Q.        Right.

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      1                       And then if you go to .24, "A
      2    national epidemic.           More than 45 people die
      3    per day" -- I'm sorry, I'll wait until you
      4    get there.
      5             A.        24, you said?
      6             Q.        .24, sir.
      7             A.        Okay.     Sorry.
      8             Q.        You there?
      9             A.        I am.
     10




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      1    QUESTIONS BY MR. RAFFERTY:
      2             Q.        Okay.     All right.        We talked a
      3    little bit earlier about the rights or --
      4    excuse me, strike that.
      5                       We talked a little bit earlier
      6    about the duties and responsibilities that
      7    come along with selling and distributing
      8    narcotics in the United States.
      9                       Do you recall that?
     10             A.        We have talked about that.
     11




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      1    QUESTIONS BY MR. RAFFERTY:
      2             Q.        Okay.     If we could, let's go
      3    to --
      4                       MS. HENN:       Counsel, I just
      5             wanted to make one clarifying note.
      6                       Yesterday Mr. Farrell said that
      7             the McKesson metadata for this
      8             document indicated that the
      9             presentation date is late 2013.                 So
     10             there's some discrepancy between what
     11             he said and what you said.
     12                       MR. RAFFERTY:         I say it's
     13             September 2015.
     14                       MS. HENN:       Just wanted to make
     15             that clear for the record because the
     16             witness had noted that he recalled
     17             that.
     18                       MR. RAFFERTY:         I'm sorry, I
     19             didn't mean to interrupt you,
     20             Ms. Henn.
     21                       MS. HENN:       That's all right.
     22    QUESTIONS BY MR. RAFFERTY:
     23             Q.        Does that change your testimony
     24    in regards to that document we went through?
     25             A.        No, it doesn't change my

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      1    testimony.        I just wanted to be clear of the
      2    timing in terms of, you know, Gary's role,
      3    when he came on board with McKesson and the
      4    context of the presentation.
      5             Q.        But it doesn't change your
      6    testimony, true?
      7             A.        It doesn't change my testimony.
      8             Q.        Okay.     If we could, let's go to
      9    .8 of the presentation.             "The Controlled
     10    Substances Act.          Congress" --
     11                       You there?
     12             A.        Yeah.     Sorry.
     13             Q.        "The Controlled Substances
     14    Act."     Talked about that earlier.               That's the
     15    act that was passed by United States Congress
     16    in 1971.
     17                       You recall that, right?
     18             A.        I do.
     19




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     18             Q.        You can't get the general
     19    import of that particular slide from this?
     20                       MS. HENN:       Objection to form.
     21                       THE WITNESS:        I understand --
     22    QUESTIONS BY MR. RAFFERTY:
     23




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     11    QUESTIONS BY MR. RAFFERTY:
     12             Q.        And he's a senior director of
     13    regulatory affairs, same hierarchical
     14    position as you are, right?
     15                       MS. HENN:       Objection to form.
     16    QUESTIONS BY MR. RAFFERTY:
     17             Q.        What we saw there back in 2015?
     18             A.        He is.
     19




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      8             Q.        That's right.
      9                       And that's the reason -- I
     10    think you agreed with me earlier, that's the
     11    reason you report and -- you monitor and
     12    report suspicious orders.              Because if you
     13    determine there's a suspicious order, you
     14    don't ship or you're not -- or let me
     15    rephrase that -- you're not supposed to ship
     16    it, right?
     17                       MS. HENN:       Objection to form.
     18                       THE WITNESS:        Can you ask the
     19             question again?
     20    QUESTIONS BY MR. RAFFERTY:
     21             Q.        Yeah.     Yeah.
     22




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     20    QUESTIONS BY MR. RAFFERTY:
     21




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     10    QUESTIONS BY MR. RAFFERTY:
     11




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     15             Q.        Okay.     And for the record,
     16    Mr. Boggs, you know, was formerly with the
     17    DEA before being hired by McKesson, right?
     18             A.        I'm aware of that.
     19             Q.        And involved in diversions with
     20    the FDA {sic} or for the FDA, right?
     21                       MS. HENN:       Objection to form.
     22    QUESTIONS BY MR. RAFFERTY:
     23             Q.        Diversion compliance?
     24             A.        For the DEA, not the FDA.
     25             Q.        For the -- did I say FDA?

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      1             A.        You did.
      2             Q.        For --
      3             A.        I want to be accurate.
      4             Q.        He was formerly -- no, I
      5    appreciate that.          Thank you.
      6             A.        Yeah.
      7             Q.        Let me rephrase it so the
      8    record is clear.
      9                       Mr. Boggs was formerly involved
     10    in the diversion compliance with the DEA,
     11    correct?
     12             A.        Yes, he was part of the Office
     13    of Diversion Control.
     14




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     10                       (McKesson-Hartle Exhibit 47
     11             marked for identification.)
     12    QUESTIONS BY MR. RAFFERTY:
     13             Q.        All right.       Let's take a look
     14    at 1.1455.        This is a presentation that you
     15    gave, and, once again, there is a habit
     16    evidently at McKesson of not putting dates on
     17    things.       We don't have a date on this one, so
     18    the metadata according to our records
     19    produced by McKesson indicate that this was
     20    done in August of 2014.             August 20, 2014.
     21             A.        August 2014.
     22             Q.        That would have been a few
     23    months after you started, right?                  If you
     24    started --
     25             A.        Right.      I started in May.

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      1             Q.        And we will mark this as
      2    Exhibit 47, I believe.
      3                       MR. RAFFERTY:         Okay.     For the
      4             record, this is P1.1455, which is now
      5             Exhibit 47 to the deposition.
      6    QUESTIONS BY MR. RAFFERTY:
      7             Q.        Do you recognize this
      8    particular document, sir?
      9             A.        I do.     These are -- yeah, these
     10    are notes as I prepare to give presentations.
     11             Q.        Right.      These are your speaker
     12    notes, for example, for a corresponding
     13    PowerPoint slide, right?
     14             A.        Correct.
     15             Q.        Okay.     Because it says
     16    "slide 1" there up at the top, right?
     17             A.        Correct.
     18             Q.        Okay.     RNA VP.      That's you,
     19    right?
     20             A.        No.
     21             Q.        Okay.     Who is that?
     22             A.        So within that retail national
     23    accounts or chain segment, each chain has
     24    a -- there's vice presidents that manage the
     25    relationships with the chains.                 So they own

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      1    the relationship to the chain.
      2             Q.        Okay.     So do you know who that
      3    person was at this time, RNA VP?
      4             A.        There are multiple RNA VPs, and
      5    this is the presentation that is given at
      6    different times to different chains, so I'm
      7    not sure which one it would be --
      8             Q.        Okay.     So whoever -- whoever it
      9    is --
     10             A.        -- of that chain.
     11             Q.        -- of that chain at that time?
     12             A.        Correct.
     13             Q.        Okay.
     14             A.        Correct.
     15             Q.        It goes down and it says, "My
     16    name is Nate Hartle."             That's you?
     17             A.        Right.
     18             Q.        We know that?
     19             A.        Right.
     20             Q.        Okay.     "And I am senior
     21    director of regulatory affairs for McKesson
     22    dedicated to our retail national accounts."
     23                       Do you see that?
     24             A.        Right.
     25             Q.        "My background is in retail in

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      1    the assets protection and corporate security
      2    world, and I have experience and knowledge in
      3    the diversion space, including leading
      4    efforts focused on both internal theft and
      5    the CSMP on the dispensing side."
      6                       Do you see that?
      7             A.        I see that.
      8             Q.        You were with Target before you
      9    started at McKesson, right?
     10             A.        I was.
     11             Q.        Okay.     Were you in -- did you
     12    have a role or were you in charge of the
     13    diversion of narcotics compliant -- the
     14    compliance with the regulations of the
     15    diversion of narcotics while at Target?
     16             A.        While at Target, there was
     17    multiple functions involved in pharmacy.                     I
     18    had a very specific team that was focused on,
     19    you know, monitoring diversion, monitoring
     20    dispensing across the stores.                So I played a
     21    role.
     22                       We investigated internal theft.
     23    We monitored -- we worked internally to
     24    create training and education and awareness.
     25    So I played a role along with other

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      1    components within Target.
      2             Q.        Okay.
      3                       MR. RAFFERTY:         Let's go to .5
      4             of this presentation, Corey.
      5    QUESTIONS BY MR. RAFFERTY:
      6             Q.        So this is being given to the
      7    retail chains, right?
      8             A.        So these presentations are
      9    given to -- were given initially to retail
     10    chains in -- when I first joined the team.
     11    And I will -- to add some context to this, as
     12    I prepared, these were not read word for
     13    word.     This is me preparing and using as a
     14    guideline.
     15             Q.        I understand.
     16             A.        So this is not a presentation;
     17    it's just speaking points.               But I -- so I
     18    wanted you to understand.
     19             Q.        I wasn't suggesting it was.
     20             A.        Right.
     21             Q.        But this is something that you
     22    wrote, right?
     23             A.        It is.
     24



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      5             Q.        Mr. Rannazzisi, he's with the
      6    DEA, right?
      7             A.        He was.
      8             Q.        Was.
      9                       And he's the one that actually
     10    wrote those letters back in 2006 and 2007
     11    reiterating what your responsibilities are
     12    under the Controlled Substances Act, true?
     13                       MS. HENN:       Objection to form.
     14                       THE WITNESS:        He wrote those.
     15    QUESTIONS BY MR. RAFFERTY:
     16             Q.        Okay.
     17             A.        They came from him, sure.
     18




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     12    QUESTIONS BY MR. RAFFERTY:
     13             Q.        Okay.     And you don't have any
     14    reason to dispute that, right?
     15             A.        I don't.
     16




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     10                       MS. HENN:       Just a note to try
     11             not to talk over each other, but go
     12             ahead with your question.
     13    QUESTIONS BY MR. RAFFERTY:
     14             Q.        I'm sorry, you want to finish?
     15




     25

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     24             Q.        Okay.
     25                       MS. HENN:       Counsel, we've been

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      1             going over an hour.           Would this be a
      2             good time for a quick break?               We can
      3             make it five minutes.
      4                       MR. RAFFERTY:         I'll tell you,
      5             can I just finish this one document
      6             and then we can take ten?
      7                       THE WITNESS:        That's fine.
      8             That's okay.
      9    QUESTIONS BY MR. RAFFERTY:
     10




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      4                       MR. RAFFERTY:         Okay.     We can
      5             take a break now.
      6                       MS. HENN:       Thank you.
      7                       VIDEOGRAPHER:         The time is
      8             10:16 a.m.       We're going off the
      9             record.
     10              (Off the record at 10:16 a.m.)
     11                       VIDEOGRAPHER:         The time is
     12             10:29 a.m., and we're back on the
     13             record.
     14                       MR. RAFFERTY:         All right.       Just
     15             a little housekeeping here.
     16                       In a stunning twist of fate, I
     17             was actually wrong and Paul Farrell
     18             was right.       The date on the Boggs'
     19             presentation, which is Exhibit 46 to
     20             the deposition, is September 30, 2013.
     21                       MR. FARRELL:        I'm sorry, Troy,
     22             I missed that.
     23                       MS. HENN:       Thank you, sir.
     24                       THE WITNESS:        Thank you.
     25                       MR. RAFFERTY:         It won't happen

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      1              again.     There's a first time for
      2              everything.
      3     QUESTIONS BY MR. RAFFERTY:
      4              Q.        Okay.     Now, getting back to the
      5     questions.
      6                        Mr. Hartle, so we talked
      7     earlier about the roles and responsibilities
      8     that McKesson has as a distributor of
      9     narcotics under the Controlled Substances
     10     Act.
     11                        You would agree with me that in
     12     2006 Mr. Rannazzisi, who we just talked about
     13     a few minutes ago, on behalf of the United
     14     States Department of Justice and the Drug
     15     Enforcement Administration, sent a letter to
     16     all distributors and registrants reiterating
     17     the responsibilities and duties under the
     18     Controlled Substance Act, right?
     19                        MS. HENN:       Objection to form.
     20                        THE WITNESS:        Yes, he did send
     21              that.
     22                        (McKesson-Hartle Exhibit 49
     23              marked for identification.)
     24     QUESTIONS BY MR. RAFFERTY:
     25              Q.        Okay.     All right.        If we could

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      1     1.1464, which will be exhibit -- excuse me --
      2     which will be Exhibit 49 to the deposition.
      3




      6              Q.        Okay.     And in the letter it
      7     specifically says at the top, "September 27,
      8     2006."
      9                        Do you see that?          Oh, no,
     10     it's 1.1464.
     11                        All right.       Looking at this
     12     particular letter, once again, it's dated
     13     September 27, 2006, right?
     14              A.        Correct.
     15              Q.        Okay.     And he says here, "This
     16     letter is being sent to every commercial
     17     entity in the United States registered with
     18     the DEA to distribute controlled substances."
     19                        Did I read that right?
     20              A.        Yes.
     21              Q.        "The purpose of this letter is
     22     to reiterate the responsibilities of
     23     controlled substance distributors in view of
     24     the prescription drug abuse problem our
     25     nation currently faces. "

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      1                        Did I read that right?
      2              A.        You did.
      3




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      1              Q.        The DEA -- the next paragraph
      2     says -- lays out that CFR we read about
      3     designing and operating a system to disclose
      4     suspicious orders.
      5                        You see that?
      6              A.        I do.
      7              Q.        Okay.     And then going down to
      8     the next one it says, "It bears emphasis that
      9     the foregoing reporting requirement is in
     10     addition to and not in lieu of the general
     11     requirement under 21 USC 823(e) that a
     12     distributor maintain effective controls
     13     against diversion."
     14                        Do you see that?
     15              A.        I do.
     16




     19              Q.        Okay.     "Thus, in addition to
     20     reporting all suspicious orders, a
     21     distributor has a statutory responsibility to
     22     exercise due diligence to avoid filling
     23     suspicious orders that might be diverted into
     24     other than legitimate medical, scientific and
     25     industrial channels."

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      1                        Did I read that correctly?
      2              A.        You did.
      3




     11              Q.        Okay.     "Due diligence to avoid
     12     filling suspicious orders," correct?
     13                        Okay.     "In a similar vein,
     14     given the requirements under 823(e) that a
     15     distributor maintain effective controls
     16     against diversion, a distributor may not
     17     simply rely on the fact that the person
     18     placing the suspicious order is a DEA
     19     registrant and turn a blind eye to the
     20     suspicious circumstances."
     21                        You see that?
     22              A.        I do.
     23




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     15              Q.        Okay.     "Again, to maintain
     16     effective controls against diversion as
     17     Section 823(e) requires, the distributor
     18     should exercise due care in confirming the
     19     legitimacy of all orders prior to filling."
     20                        You see that?
     21              A.        I do.
     22              Q.        Okay.     And you see going to
     23     page 4, that's signed by Joseph T.
     24     Rannazzisi, Deputy Assistant Administrator,
     25     Office of Diversion Control.

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      1                        You see that?
      2              A.        I see that.
      3              Q.        Okay.     Now, that was in
      4     September of 2006.
      5                        Now, in December of 2007,
      6     Mr. Rannazzisi sent another letter.                   You're
      7     aware of that, correct?
      8              A.        Correct.
      9                        (McKesson-Hartle Exhibit 50
     10              marked for identification.)
     11     QUESTIONS BY MR. RAFFERTY:
     12              Q.        Okay.     And this will be marked
     13     as Exhibit 50 to the deposition.
     14                        So here, December 27, 2007.
     15     Just so happens to be the monitor that I
     16     can't see that is there.
     17                        You see the date there,
     18     December 27, 2007, sir?
     19              A.        I do.
     20              Q.        Okay.     Once again, this one
     21     is -- now, this one is specifically addressed
     22     to McKesson Corporation.
     23                        Do you see that?
     24              A.        I see that.
     25

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      5              Q.        All right.       Once again he says,
      6     "This letter is being sent to every entity in
      7     the United States registered with the DEA to
      8     manufacture or distribute controlled
      9     substances."
     10                        Do you see that?
     11              A.        I do.
     12              Q.        Okay.     Once again he says, "The
     13     purpose of this letter is to reiterate the
     14     responsibilities of controlled substance
     15     manufacturers and distributors to inform DEA
     16     of suspicious orders in accordance with 21
     17     CFR 1301.74 subsection B.
     18                        Do you see that?
     19              A.        Right.     I do.
     20              Q.        Once again he uses that word
     21     "reiterate," right?
     22              A.        Yes.
     23              Q.        Okay.     Down to the next
     24     paragraph it says, "In addition to and not in
     25     lieu of the general requirement under 21 USC

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      1     823 that manufacturers and distributors
      2     maintain effective controls against
      3     diversion, DEA require -- regulations require
      4     all manufacturers and distributors to report
      5     suspicious orders of controlled substances."
      6




     18              Q.        Okay.     Then going down, the
     19     regulation -- the regulation clearly
     20     indicates that "it is the sole responsibility
     21     of the registrant to design and operate such
     22     a system."
     23                        Did I read that right?
     24              A.        Yes.
     25

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      5              Q.        Okay.     And then going further
      6     down it says, "The regulation also" -- this
      7     is the third full paragraph, sir, I'm sorry.
      8                        "The regulation also requires
      9     that the registrant inform the local DEA
     10     division office of suspicious orders when
     11     discovered by the registrant."
     12                        Do you see that?
     13              A.        I see that.
     14




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      5              Q.        Okay.     "Filing a monthly report
      6     of completed transactions does not meet the
      7     regulatory requirement to report suspicious
      8     orders."
      9                        Do you see that?
     10              A.        I see that.
     11              Q.        "Registrants are reminded that
     12     their responsibility does not end merely with
     13     the filing of a suspicious order report.
     14     Registrants must conduct an independent
     15     analysis of suspicious orders prior to
     16     completing a sale to determine whether the
     17     controlled substances are likely to be
     18     diverted from legitimate channels."
     19




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      6     QUESTIONS BY MR. RAFFERTY:
      7              Q.        "Reporting an order as
      8     suspicious will not absolve the registrant of
      9     responsibility if the registrant knew or
     10     should have known that the controlled
     11     substances were being diverted."
     12                        Do you see that?
     13              A.        I see that.
     14              Q.        So what he's saying there is
     15     you must not ship suspicious orders.
     16     Reporting isn't enough.             If you have a
     17     suspicious order, you must not ship it, true?
     18                        MS. HENN:       Objection to form.
     19                        THE WITNESS:        Can you say that
     20              once again?
     21     QUESTIONS BY MR. RAFFERTY:
     22




     25              Q.        And then it goes through and

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      1     describes again that suspicious orders are
      2     orders of unusual size, pattern or frequency.
      3                        You see that?
      4              A.        I see that, yeah.
      5              Q.        All right.       Then finally
      6     turning to page 2, "Registrants" -- the top
      7     paragraph.
      8                        "Registrants that rely on rigid
      9     formulas to define whether an order is
     10     suspicious may be failing to detect
     11     suspicious orders."
     12                        You see that?
     13              A.        I see that.
     14              Q.        "For example, a system that
     15     identifies orders as suspicious only if the
     16     total amount of a controlled substance
     17     ordered during one month exceeds the amount
     18     ordered the previous month by a certain
     19     percentage or more is insufficient."
     20                        You see that?
     21              A.        I see that.
     22              Q.        "This system fails to identify
     23     orders placed by a pharmacy if the pharmacy
     24     placed unusually large orders from the
     25     beginning of its relationship with the

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      1     distributors."
      2                        So if you have -- you have to
      3     have more than just an algorithm or a formula
      4     to detect suspicious orders; that's what he's
      5     telling you there, right?
      6                        MS. HENN:       Objection to form.
      7                        THE WITNESS:        Can you ask your
      8              question again, clarify your question?
      9     QUESTIONS BY MR. RAFFERTY:
     10              Q.        Yeah.
     11




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      3     QUESTIONS BY MR. RAFFERTY:
      4              Q.        All right.       "Also, this system
      5     would not identify orders as suspicious if
      6     the order were solely for one highly abused
      7     controlled substance if the orders never grew
      8     substantially."
      9                        Do you see that?
     10              A.        I see that.
     11              Q.        "Nevertheless, ordering one
     12     highly abused controlled substance, and
     13     little or nothing else, deviates from normal
     14     pattern of what pharmacies generally order."
     15




     20     QUESTIONS BY MR. RAFFERTY:
     21              Q.        Okay.     All right.        In
     22     implementing a -- in designing and operating
     23     an effective system to detect suspicious
     24     orders or in performing the due diligence to
     25     detect a suspicious order, you would agree

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      1     with me that a distributor of narcotics
      2     should err on the side of the public safety
      3     and health in making those decisions,
      4     correct?
      5                        MS. HENN:       Objection to form.
      6                        THE WITNESS:        Can you -- can
      7              you restate that or --
      8     QUESTIONS BY MR. RAFFERTY:
      9              Q.        Yeah.
     10




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      9     QUESTIONS BY MR. RAFFERTY:
     10




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      6                        (McKesson-Hartle Exhibit 51
      7              marked for identification.)
      8                        MR. RAFFERTY:         This is -- I'm
      9              handing counsel P1.345, which is
     10              Exhibit 51 to the deposition.
     11     QUESTIONS BY MR. RAFFERTY:
     12




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      2                        MS. HENN:       Objection to form.
      3     QUESTIONS BY MR. RAFFERTY:
      4




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     21     QUESTIONS BY MR. RAFFERTY:
     22              Q.        I think you've already got this
     23     in front of you.          It's Exhibit 47.          It's your
     24     presentation notes.
     25                        And we also know that doctor --

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      1     or that Mr. Rannazzisi specifically said in
      2     his 2007 letter you can't simply rely or turn
      3     a blind eye simply because the Rite Aid
      4     you're providing drugs to or the CVS you're
      5     providing drugs to has their own
      6     registrant -- are registrants of the DEA,
      7     right?
      8                        MS. HENN:       Sorry, could you
      9              just read that again?            It was a little
     10              hard to hear.
     11     QUESTIONS BY MR. RAFFERTY:
     12              Q.        Yeah.
     13




     21     QUESTIONS BY MR. RAFFERTY:
     22




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     24                        (McKesson-Hartle Exhibit 52
     25              marked for identification.)

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      1     QUESTIONS BY MR. RAFFERTY:
      2              Q.        Okay.     All right.        Well, let's
      3     talk about a couple of those.                Let's look at
      4     1.1470, which is going to be Exhibit 52.
      5




      8              Q.        Okay.     And have you reviewed
      9     this particular one?
     10              A.        Let me take a peek real quick
     11     here.
     12              Q.        It was in 2008, so it was
     13     before you --
     14              A.        Well before I joined McKesson,
     15     certainly.
     16              Q.        Right.
     17                        But I'm curious if you've seen
     18     it since coming to --
     19              A.        I have.
     20




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     18              Q.        Do you have, since you're in
     19     charge of the national -- the retail national
     20     accounts -- CVS would be one of those, right?
     21                        Now you are, I'm talking about.
     22              A.        Yes.
     23              Q.        Okay.     And you have been since
     24     2014?
     25              A.        2014.

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      1              Q.        I'm not suggesting you were at
      2     this time.
      3              A.        Right.
      4




     12




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     17                        (McKesson-Hartle Exhibit 53
     18              marked for identification.)
     19     QUESTIONS BY MR. RAFFERTY:
     20




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      1              Q.        Okay.     Have you reviewed this
      2     before?
      3              A.        I have not.
      4




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     13              Q.        Okay.     RNA, that's the retail
     14     national accounts.           Those are the big ones,
     15     right?
     16              A.        Those are chains.
     17              Q.        Chains.      The big chains,
     18     national chains, right?
     19                        MS. HENN:       Objection to form.
     20                        THE WITNESS:        There's actually
     21              a variety of chains.            Some can be
     22              specific to a state, to a geography,
     23              national.       There's variety of them.
     24     QUESTIONS BY MR. RAFFERTY:
     25              Q.        Well, you call them retail

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      1     national accounts, right?
      2              A.        That's the name of the
      3     segments, but I'm saying within there there's
      4     variations.
      5




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      1                        Do




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      7                        Do you know who Dave Gustin is?
      8              A.        I do know who Dave Gustin is.
      9              Q.        Okay.     Who he is?
     10              A.        Dave is a former McKesson
     11     employee.       He was a director of regulatory
     12     affairs at times.
     13              Q.        Okay.     A director of regulatory
     14     affairs, right?
     15              A.        Correct.
     16              Q.        Okay.     One step below you,
     17     right?
     18              A.        Yes.     One level, yeah.
     19              Q.        One level.
     20




     23              Q.        All right.       From Dave Gustin to
     24     Micheal Bishop.
     25                        Do you know who Micheal Bishop

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      1     is?
      2              A.        I do.     Micheal used to work on
      3     my team.
      4              Q.        Okay.     And in fact, I think we
      5     saw him up there earlier this morning.
      6     That's one of the reasons I put that chart up
      7     there, so we could go back and reference who
      8     some people are.
      9                        Micheal Bishop was on your
     10     team, and what position was he?
     11              A.        He was a regulatory affairs
     12     manager.
     13              Q.        Manager.      Okay.
     14




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      1                        Thanksgiving is not a permanent
      2     holiday, is it?
      3                        MS. HENN:       Objection to form.
      4     QUESTIONS BY MR. RAFFERTY:
      5              Q.        Pretty sure for the week after
      6     Thanksgiving, Thanksgiving is not around for
      7     another year, right?
      8              A.        Permanent in that it happens
      9     every year, but not permanent in that sense.
     10




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     18                        (McKesson-Hartle Exhibit 54
     19              marked for identification.)
     20     QUESTIONS BY MR. RAFFERTY:
     21              Q.        Let's go to 1.1433.           This will
     22     be Exhibit 54.
     23




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      3              Q.        August 13, 2014.          This is while
      4     you're there at McKesson now, right?
      5              A.        Excuse me?
      6              Q.        You're at McKesson as of August
      7     13, 2014?
      8              A.        I am.     In May, yeah.
      9              Q.        Okay.     You are senior
     10     regulatory affairs director for national
     11     accounts at that time, true?
     12              A.        Correct.
     13




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      3                        MS. HENN:       Counsel, can I just
      4              pause for a minute?
      5                        Counsel, if there's a need to
      6              have conversations, we reserved a room
      7              just next door, and I would ask you to
      8              either refrain from talking and
      9              distracting the witness or please
     10              leave the room.         Is that okay?
     11                        Thank you, sir.
     12     QUESTIONS BY MR. RAFFERTY:
     13




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     16     QUESTIONS BY MR. RAFFERTY:
     17              Q.        All right.       Now let's --
     18                        MS. HENN:       Counsel, it's
     19              getting close to lunch and we've been
     20              going on an hour and 20 minutes.
     21              Would this be a good time for a break
     22              to get some lunch?
     23                        MR. RAFFERTY:         Well, it's up to
     24              the witness, obviously, but if we
     25              could accommodate ten more minutes, I

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      1              can get through this particular --
      2                        THE WITNESS:        What time is it?
      3                        MS. HENN:       It's 11:52 or 3.
      4                        THE WITNESS:        That's fine.
      5                        MR. RAFFERTY:         Is that okay?
      6                        THE WITNESS:        That's okay.
      7                        MR. RAFFERTY:         Totally up to
      8              you.    I don't want to force you.
      9                        THE WITNESS:        No, that's okay.
     10                        MS. HENN:       Don't push it.
     11                        (McKesson-Hartle Exhibit 55
     12              marked for identification.)
     13     QUESTIONS BY MR. RAFFERTY:
     14




     24     QUESTIONS BY MR. RAFFERTY:
     25              Q.        Okay.     And if we look at

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      1     1.1461, which will be Exhibit 55 to the
      2     deposition.
      3                        Now, this is from Nate Hartle.
      4     Do you see that at the top?
      5              A.        I do.
      6              Q.        Okay.     Now -- and this is dated
      7     July 23, 2014, right?
      8              A.        Yes.
      9              Q.        So just about a month before
     10     that letter from the US Attorney, right?
     11              A.        Correct.
     12              Q.        That we just looked at?
     13              A.        Right after I joined.
     14              Q.        Okay.     And this is right after
     15     you joined, right?
     16                        (McKesson-Hartle Exhibit 56
     17              marked for identification.)
     18     QUESTIONS BY MR. RAFFERTY:
     19              Q.        Okay.     Now I want to show you
     20     1.1458, which will be Exhibit 56 to the
     21     deposition.
     22                        All right.       This is another
     23     e-mail from Nate Hartle, September 9, 2014.
     24                        Do you see that?
     25              A.        I do.

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      1              Q.        Okay.     Let's focus on -- now,
      2     this is about a month after you got the
      3     letter, so let's be clear.
      4




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      3     QUESTIONS BY MR. RAFFERTY:
      4              Q.        All right.       Now --
      5                        MS. HENN:       Counsel, we're going
      6              to need to take a break.              It's been an
      7              hour and 40 minutes.
      8                        VIDEOGRAPHER:         Okay.     The time
      9              is 12:08 p.m., and we're going off the
     10              record.
     11               (Off the record at 12:08 p.m.)
     12                        VIDEOGRAPHER:         The time is
     13              1:01 p.m., and we're back on the
     14              record.
     15     QUESTIONS BY MR. RAFFERTY:
     16              Q.        Mr. Hartle, just to kind of
     17     close the loop on where we were before the
     18     lunch break.
     19




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     16                        (McKesson-Hartle Exhibit 58
     17              marked for identification.)
     18     QUESTIONS BY MR. RAFFERTY:
     19              Q.        Okay.     Now -- all right.
     20     Looking at P1.88, this is a copy of the
     21     administrative memorandum of agreement
     22     pertaining to the 2017 settlement.
     23                        Have you reviewed this before?
     24              A.        I have.
     25              Q.        Okay.     And if you would, please

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      1     turn to the back page, which is P -- I'm
      2     sorry, page 14.          Page 14.
      3                        Oh, I'm sorry, it's 58.             I'm
      4     sorry, did you -- have you seen this before,
      5     Mr. Hartle?
      6              A.        I have.
      7              Q.        Okay.     If you would, turn to
      8     page 14.      And if you look over there, the
      9     signatures of the acting administrator of the
     10     Drug Enforcement Administration and assistant
     11     administrator for the Diversion Control
     12     Division of DEA; do you see that?
     13              A.        I see that.
     14              Q.        And those are dated January 17,
     15     2017, right?
     16              A.        Correct.
     17              Q.        And that's the date that the
     18     agreement was finalized and the $150 million
     19     fine was levied, correct?
     20                        MS. HENN:       Objection to form.
     21                        THE WITNESS:        That's the date.
     22                        (McKesson-Hartle Exhibit 59
     23              marked for identification.)
     24     QUESTIONS BY MR. RAFFERTY:
     25

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                                                                     I

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      2              Q.        Well, let me show you what
      3     we're going to mark as Exhibit 60, which is
      4     P1.1453.
      5                        So here, if you look at the
      6     date at the top, it's March 2017.
      7                        You see that?
      8              A.        I do.
      9              Q.        Three months after -- roughly
     10     three months after your e-mail, correct, of
     11     January 2017?
     12              A.        Three months after.
     13              Q.        So here's what the headline is.
     14     Have you ever looked at this article before?
     15     You ever seen this?
     16              A.        I don't recognize this one.
     17              Q.        It says -- the headline is, or
     18     the title of it is, "Too Many Bodies in Ohio
     19     Morgue, So Coroner Gets Death Trailer."
     20                        Have you ever heard that phrase
     21     "death trailer"?
     22              A.        I have not.
     23              Q.        Do you know that Ohio, the
     24     State of Ohio, had to go out and buy a death
     25     trailer because of the number of opioid

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      1     deaths that were occurring in that state back
      2     when you were telling your customers it's
      3     business as usual?
      4                        MS. HENN:       Objection to form.
      5                        THE WITNESS:        I did not know of
      6              a death trailer.
      7     QUESTIONS BY MR. RAFFERTY:
      8              Q.        Okay.     Well, let's look and see
      9     what it says.
     10                        It says, "It's moot testimony
     11     to the opioid addiction plague that has been
     12     ravaging Ohio, a 20-foot-long air-conditioned
     13     trailer with room for 18 bodies."
     14                        Do you see that?
     15              A.        I do see that.
     16              Q.        "The Stark County coroner in
     17     Canton had a cold storage mass casualty
     18     trailer trucked in on Saturday because the
     19     morgue was overflowing with bodies, nearly
     20     half of the victims from drug overdoses."
     21                        Do you see that?
     22              A.        I do.
     23              Q.        Okay.     If you turn to .3, this
     24     is a picture from inside the death trailer.
     25                        Do you see that?

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      1              A.        I do.
      2              Q.        And then if you go to .4, and
      3     if you look, it says specifically, "Coroners
      4     in the counties of Ashtabula and Cuyahoga,"
      5     which is where Cleveland is located, "have
      6     had to deploy the trailers when their morgues
      7     became too jammed, he said.               The medical
      8     examiner in Summit County," where Akron is
      9     located, "asked the Ohio department to send
     10     one over last summer when there was a spike
     11     in drug overdoses, the Akron Beacon Journal
     12     reported.       Just this year alone, there have
     13     been 90 overdose deaths in Stark County and
     14     109 in Cuyahoga County, according to the
     15     Akron newspaper."
     16                        Did I read that correctly?
     17              A.        You did.
     18              Q.        "But the situation in the rust
     19     belt states like Ohio, where the drug
     20     overdose rate is 2015, was most -- the most
     21     recent federal figures available was 29.9 per
     22     100,000 people is especially dire."
     23                        Is that what that says?
     24              A.        It does say that.
     25              Q.        Now, this is in March of 2017.

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      1     And you're saying even in your position now,
      2     which is, if I wrote it down correctly,
      3     senior vice -- or vice -- yeah, senior vice
      4     president, right?           Are you vice president or
      5     senior vice president?
      6              A.        Right now?
      7              Q.        Yeah.
      8              A.        Vice president.
      9              Q.        Vice president of regulatory
     10     affairs and compliance; is that right?
     11              A.        Yes.
     12




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      2                        (McKesson-Hartle Exhibit 48
      3              marked for identification.)
      4     QUESTIONS BY MR. RAFFERTY:
      5              Q.        If we look now at
      6     Exhibit 1153 -- you got it?               I already marked
      7     these -- which is -- I'm sorry, is marked
      8     Exhibit 48.
      9                        And if you turn to page -- this
     10     is the -- just so the -- we identify the
     11     document, it's P1.1153, and it is from the
     12     DEA, "Effective controls against diversion."
     13                        Have you seen this before?
     14                        You know what?         I withdraw the
     15     question.       Let's just go to .44.
     16              A.        I'd still like to take a quick
     17     peek.     I want to see...
     18              Q.        Okay.     Go to .44, please.
     19                        You there?
     20              A.        Almost.      .44.     Okay.
     21




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     25                        And then the second bullet

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      1     point is, "Is there a problem with controlled
      2     substances in this particular state?                   If so,
      3     what is the problem, what are the controlled
      4     substances involved," right?
      5              A.        That's what it says.
      6




     21




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     24                        MS. HENN:       Pardon me, Counsel.
     25              My realtime -- oh, and the phone cut

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      1              out.
      2                        MR. RAFFERTY:         Okay.     Well,
      3              let's take five minutes and just get
      4              it on.
      5                        MS. HENN:       Let's go off the
      6              record for a second.
      7                        VIDEOGRAPHER:         The time is
      8              1:30 p.m., and we're going off the
      9              record.
     10               (Off the record at 1:29 p.m.)
     11                        VIDEOGRAPHER:         The time is
     12              1:32 p.m., and we're back on the
     13              record.
     14     QUESTIONS BY MR. RAFFERTY:
     15              Q.        All right.       Let's -- all right.
     16     Let's look at what else is going on.
     17                        During 2014, there were some --
     18     you're familiar with HDMA.               We talked a
     19     little bit about that earlier, right?
     20              A.        I am.
     21              Q.        That's your trade organization?
     22              A.        Right.     Correct.
     23                        (McKesson-Hartle Exhibit 61
     24              marked for identification.)
     25

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      1     QUESTIONS BY MR. RAFFERTY:
      2              Q.        Okay.     And if we look at 1490,
      3     which will be Exhibit 61 to the depo.
      4                        So this is right around the
      5     time you're starting at McKesson, right, May
      6     2014?
      7              A.        In 2014.
      8              Q.        Okay.     "SGAC annual meeting."
      9                        Do you see that?
     10              A.        I see that.
     11              Q.        And what is that; do you know?
     12              A.        I don't know.
     13              Q.        It says "HDMA" down at the
     14     bottom, Healthcare Distribution Management
     15     Association.        You guys are on the -- you
     16     guys.     You're -- McKesson is on the executive
     17     committee of that, right?
     18              A.        Correct.
     19              Q.        Okay.     And it says, if you look
     20     at point 2, "HDMA state government affairs
     21     capabilities, prepared for the HDMA executive
     22     committee expense working group."
     23                        Do you see that?
     24              A.        I do see that.
     25              Q.        And one of the things, if you

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      1     turn over a couple of pages to .4, one of the
      2     things it says is, "Challenges on the
      3     horizon:      State efforts to address, reduce,
      4     prevent prescription abuse and diversion."
      5                        Do you see that?
      6              A.        I see that.
      7




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     11              Q.        Okay.     Well, let's see what --
     12     14.55, please.         This is already 47.
     13                        MS. HENN:       Counsel, one note.
     14              This document was labeled Exhibit 48
     15              on the actual document, which I'm not
     16              sure is right.
     17                        MR. RAFFERTY:         You know, I
     18              know, because I went to mark it and
     19              then I set it aside, so...
     20                        MS. HENN:       At a break or
     21              something.       Okay.
     22                        MR. RAFFERTY:         All right.       So
     23              this is already Exhibit 47 that I'm
     24              looking at now.
     25                        MS. HENN:       Okay.

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      1                        MR. RAFFERTY:         Is it 47?       No,
      2              no, no.      It's already -- no.           No.     I
      3              was saying it's previously been
      4              marked.      It's your presentation notes.
      5                        THE WITNESS:        Oh.
      6                        MS. HENN:       Oh, I see what
      7              you're saying.
      8                        MR. RAFFERTY:         Yeah.
      9                        MS. HENN:       Pardon me.
     10                        MR. RAFFERTY:         We had just
     11              skipped the number 48 because I took
     12              it out of order.
     13                        MS. HENN:       Understood.
     14     QUESTIONS BY MR. RAFFERTY:
     15




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     15              Q.        Okay.     Now, the fact of the
     16     matter is is you did start seeing, for
     17     example, different states and state Boards of
     18     Pharmacy cracking down and trying to make
     19     sure and reduce diversion through their
     20     states, correct?
     21                        MS. HENN:       Objection to form.
     22                        THE WITNESS:        Could you ask
     23              that again?
     24     QUESTIONS BY MR. RAFFERTY:
     25              Q.        Yeah.

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      1                        You did see that --
      2              A.        Yeah.
      3




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     16     QUESTIONS BY MR. RAFFERTY:
     17              Q.        So you've never seen this
     18     before?
     19              A.        I don't recall it.           I can't say
     20     I've never seen it.
     21                        (McKesson-Hartle Exhibit 63
     22              marked for identification.)
     23     QUESTIONS BY MR. RAFFERTY:
     24              Q.        Let me show you 1456.
     25                        Now this was, what, nine months

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      1     ago, right?        Roughly?      It's October 2017.
      2     What is that, nine, ten months ago?
      3              A.        Right.
      4              Q.        And I'll hand you what's been
      5     marked as 63.
      6




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     12                        (McKesson-Hartle Exhibit 64
     13              marked for identification.)
     14     QUESTIONS BY MR. RAFFERTY:
     15              Q.        Okay.     In fact, let's look
     16     at -- sorry about that.
     17




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      1     QUESTIONS BY MR. RAFFERTY:
      2              Q.        Okay.     And as I said before,
      3     this isn't -- there have been -- there was in
      4     2008 a settlement that we talked a little bit
      5     about earlier involving the failure for -- a
      6     failure of McKesson to report suspicious
      7     orders of its narcotics, right?
      8                        MS. HENN:       Objection to form.
      9                        THE WITNESS:        I apologize.         Can
     10              you say that one again?
     11     QUESTIONS BY MR. RAFFERTY:
     12              Q.        2008 --
     13              A.        2008.
     14




     19                        (McKesson-Hartle Exhibit 65
     20              marked for identification.)
     21     QUESTIONS BY MR. RAFFERTY:
     22              Q.        Okay.     If we could look now at
     23     1.889, which will be Exhibit 65.
     24                        This is a copy of the
     25     settlement and release agreement and

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      1     administrative memorandum of agreement from
      2     the 2008 settlement.
      3                        Do you see that?
      4              A.        I do see that.
      5              Q.        Okay.     Now, if we turn to -- I
      6     just want to make a list here.
      7                        Now, this resulted in the
      8     $13.25 million fine, right?
      9              A.        Correct.
     10                        MR. RAFFERTY:         Okay.     So if I
     11              could have a piece of paper, Carol.
     12     QUESTIONS BY MR. RAFFERTY:
     13              Q.        So if we look over on
     14     page .2 -- not .2 -- on page -- Bates
     15     stamp -- you see the Bates number down at the
     16     bottom?
     17              A.        Yeah.
     18              Q.        1060 is the page we need to go
     19     to.    Sorry, mine is not numbered.
     20                        All right.       So this 2008
     21     involved -- and it says, "Covered Conduct."
     22     Covered conduct involved in this, in the --
     23     involved, A, within the District of Maryland,
     24     and it involved McKesson-Landover.
     25                        Do you see that?

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      1              A.        Yes.
      2              Q.        So that's Landover, Maryland.
      3                        And in Landover, Maryland, they
      4     allege that there was approximately 3 million
      5     dosage units of hydrocodone sold to New Care
      6     Pharmacy in Baltimore, and failed to report
      7     these as suspicious orders to the DEA when
      8     discovered, right?
      9                        MS. HENN:       Objection to form.
     10     QUESTIONS BY MR. RAFFERTY:
     11              Q.        That's what it says?
     12              A.        That's what it says.
     13




     20     QUESTIONS BY MR. RAFFERTY:
     21              Q.        Okay.     And then second, letter
     22     B down there is, "Within the middle district
     23     of Florida, in October 2005,
     24     McKesson-Lakeland sold approximately
     25     2.1 million dosage units of hydrocodone to

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      1     seven pharmacies in the Tampa area and failed
      2     to report these as suspicious orders."
      3     Right?
      4                        MS. HENN:       Objection to form.
      5                        THE WITNESS:        That's what it
      6              says.
      7     QUESTIONS BY MR. RAFFERTY:
      8              Q.        Okay.     C is, "From February to
      9     September 2007, McKesson-Conroe sold
     10     approximately 2 million dosage units of
     11     hydrocodone."
     12                        That's Conroe, Texas, right?
     13                        MS. HENN:       Objection to form.
     14     QUESTIONS BY MR. RAFFERTY:
     15              Q.        It says "within the Southern
     16     District of Texas"?
     17                        MS. HENN:       Objection to form.
     18                        THE WITNESS:        Correct.
     19     QUESTIONS BY MR. RAFFERTY:
     20              Q.        And then turning the page:
     21     "Within the District of Colorado, from
     22     September 2005 through November 2007,
     23     McKesson-Aurora sold large quantities of
     24     hydrocodone to three Colorado pharmacies and
     25     failed to report these as suspicious orders."

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      1                        That's what it says, correct?
      2              A.        That's what it says.
      3              Q.        F -- or I'm sorry, E.            "Within
      4     the District of Utah, from January 2005
      5     through October 2007, McKesson-Salt Lake City
      6     sold approximately 824,000 dosage units of
      7     hydrocodone, oxycodone and fentanyl and
      8     methadone to the Blackfeet Clinic in
      9     Browning, Montana, and failed to report these
     10     sales as suspicious orders."
     11                        Is that right?
     12              A.        That's what it says.
     13              Q.        Okay.     "Within the Eastern
     14     District of California, from October 2007
     15     through June 2007, McKesson-West Sacramento
     16     suffered theft and significant loss of
     17     controlled substances on 28 separate
     18     occasions and failed to timely submit
     19     required theft and loss reports to the DEA."
     20                        Do you see that?
     21              A.        That's what it says as well.
     22              Q.        And if you turn to page --
     23     Bates number ending 1062, so a couple pages
     24     over, "Terms and Conditions."                And it lists
     25     out the way the 13.25 million got calculated,

    Golkow Litigation Services                                             Page 260
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      1     right?
      2              A.        It does.
      3              Q.        Okay.     It goes through all
      4     those.
      5




     12     QUESTIONS BY MR. RAFFERTY:
     13              Q.        Okay.     In fact, it also says,
     14     "McKesson represents that it's taking -- it
     15     has taken good faith actions to detect and
     16     prevent diversion, including agreeing to
     17     implement the policies and procedures that
     18     are subject of an administrative settlement
     19     agreement between it and DEA dated May 2,
     20     2008."
     21                        And then if you turn to the
     22     first page, that discusses some of the items
     23     that they have discussed, and in particular
     24     if you turn to Bates number page ending 1050.
     25                        And it goes on and says,

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      1     "Obligations" -- under terms and conditions.
      2     "Obligations of McKesson.              McKesson agrees to
      3     maintain a compliance program designed to
      4     detect and prevent diversion of controlled
      5     substances as required under the CSA and
      6     applicable DEA regulations."
      7                        Do you see that?
      8              A.        I see that.
      9              Q.        "This program shall include
     10     procedures to review orders for controlled
     11     substances.        Orders that exceed established
     12     thresholds and criteria will be reviewed by a
     13     McKesson employee trained to detect
     14     suspicious orders."
     15                        Did I read that correctly?
     16              A.        Yes.
     17              Q.        "Such orders should not be
     18     filled" -- I'm sorry, I missed a part
     19     there -- "will be reviewed by a McKesson
     20     employee trained to detect suspicious orders
     21     for the purpose of determining whether, one,
     22     such orders should be not filled and reported
     23     to the DEA, or based on a detailed review,
     24     the order is for legitimate purposes and the
     25     controlled substances are not likely to be

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      1     diverted into other than legitimate medical,
      2     scientific and industrial channels."
      3                        Do you see that?
      4              A.        Yep.     That's what it says.
      5              Q.        "Orders identified as
      6     suspicious will be reported to the DEA as
      7     discussed in Subsection 2."
      8                        And then it says, "This
      9     compliance program shall apply to all current
     10     and future McKesson distribution centers."
     11                        You see that?
     12              A.        I do.
     13




     24     QUESTIONS BY MR. RAFFERTY:
     25              Q.        Okay.     And then it goes on to

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      1     talk about "the obligations undertaken in
      2     this paragraph do not fulfill the totality of
      3     its obligations to maintain effective
      4     controls against diversion."
      5                        Do you see that?
      6              A.        I see that.
      7




     22                        (McKesson-Hartle Exhibit 66
     23              marked for identification.)
     24     QUESTIONS BY MR. RAFFERTY:
     25              Q.        Okay.     Well, let's take a look

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      1     at 1.1432.       This is Exhibit 66.            This is
      2     dated November 6, 2013.
      3




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     14                        (McKesson-Hartle Exhibit 68
     15              marked for identification.)
     16     QUESTIONS BY MR. RAFFERTY:
     17




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      9




     17     QUESTIONS BY MR. RAFFERTY:
     18




     25

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      6                        MS. HENN:       Counsel, is this a
      7              good time for a five-minute?
      8                        MR. RAFFERTY:         Yeah.
      9                        MS. HENN:       Thank you very much.
     10                        VIDEOGRAPHER:         The time is
     11              2:18 p.m., and we're going off the
     12              record.
     13               (Off the record at 2:18 p.m.)
     14                        VIDEOGRAPHER:         The time is
     15              2:28 p.m., and we're back on the
     16              record.
     17     QUESTIONS BY MR. RAFFERTY:
     18




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      3     QUESTIONS BY MR. RAFFERTY:
      4




     18                        MS. HENN:       Objection to form.
     19                        THE WITNESS:        Excuse me.
     20     QUESTIONS BY MR. RAFFERTY:
     21




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     11              Q.        Okay.     And when you came on
     12     board with your experience from Target and
     13     you, as part of your job, have to know what
     14     the CSMP is, you knew this was in there,
     15     right?
     16                        MS. HENN:       Objection to form.
     17     QUESTIONS BY MR. RAFFERTY:
     18              Q.        You reviewed these policies?
     19              A.        I reviewed this document, yeah.
     20              Q.        Right.
     21




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     11              Q.        Okay.     All right.        Let's look
     12     at 1.1443.       Oh, that's what was -- that's the
     13     one we're on now.
     14                        Oh, 43.      Yes.     And that has
     15     previously been marked as Exhibit 54.                    Oh,
     16     40, I'm sorry.         The numbers are too close.
     17     They're 1433 and 1443.             Okay.     So this is
     18     Exhibit 1.1443.
     19                        (McKesson-Hartle Exhibit 69
     20              marked for identification.)
     21     QUESTIONS BY MR. RAFFERTY:
     22              Q.        This is Exhibit 1.1443, now
     23     marked as Exhibit 69.
     24                        This is November 4, 2014, and
     25     it is from the US Department of Justice DEA

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      1     in Springfield, Virginia.
      2                        Do you see that?
      3              A.        Yes.
      4




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     22                        Now, if we go forward now, this
     23     is in November 2014.
     24                        Now -- well, first of all,
     25     let's take a look at 1.098.

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      1                        (McKesson-Hartle Exhibit 70
      2              marked for identification.)
      3     QUESTIONS BY MR. RAFFERTY:
      4              Q.        This will be marked as
      5     Exhibit 70, and this is the McKesson
      6     Corporation's response to the Teamsters.
      7                        Let's see what happens in 2015,
      8     if you look.
      9




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      8              Q.        Yet in 2015, you-all --
      9              A.        What page are we on?
     10              Q.        Sorry.     Page 24 of the report.
     11                        In 2015, the bottom paragraph:
     12     "Since 2015" -- the company provided the
     13     following data:          In 2015, after it's been --
     14     being investigated by the DEA, the DOJ, the
     15     company reported over 230,000 suspicious
     16     orders.
     17                        MS. HENN:       Sorry, so you're on
     18              page --
     19                        MR. RAFFERTY:         Page 24.
     20                        MS. HENN:       Not .28.
     21                        MR. RAFFERTY:         Oh, yeah, I'm
     22              sorry, mine's not -- sorry.
     23     QUESTIONS BY MR. RAFFERTY:
     24              Q.        Last sentence on that page.
     25              A.        Okay.

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     14              Q.        Okay.     Now, if we could go to
     15     the -- let's see, 1.088.              Exhibit 58.        This
     16     is the copy we talked about earlier, so I'm
     17     only going to go through one particular
     18     aspect of it.
     19              A.        I apologize, I don't have my 58
     20     quite yet.       I'm a bit out of order.
     21              Q.        Okay.
     22              A.        Sorry about that.           I have it
     23     now.
     24              Q.        Okay.     If you look at page --
     25     this is the administrative memorandum of

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      1     agreement for the 2017 $150 million
      2     settlement, correct?
      3              A.        Correct.
      4              Q.        Okay.     So in here it says on
      5     page 3, .3, it says, "Covered Conduct."
      6                        Do you see that?
      7                        "For the purpose of this
      8     agreement, covered conduct means the
      9     following conduct alleged by the government
     10     for the covered time period."
     11                        And it says, "McKesson failed
     12     to maintain effective controls against
     13     diversion of particular controlled substances
     14     into other than legitimate medical,
     15     scientific and industrial channels by sales
     16     to certain of its customers, in violation of
     17     the CSA and CSA's implementing regulations at
     18     McKesson distribution centers, including the
     19     following."
     20                        So we're going to go through
     21     and list those, and if they're not on this
     22     list already, I'm going to add them, okay?
     23              A.        Okay.
     24              Q.        Aurora, Colorado, that's on
     25     there.

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      1                        Aurora, Illinois, is not on
      2     there.
      3                        Delran, New Jersey, not on
      4     there.
      5                        Lacrosse, Wisconsin, not on
      6     there.
      7                        Lakeland, Florida, that's on
      8     there.
      9                        Landover, Maryland, that's on
     10     there.
     11                        La Vista, Nebraska.
     12                        Livonia, Michigan, that's on
     13     there.
     14                        Methuen, Massachusetts, that's
     15     on there.
     16                        Santa Fe Springs, California,
     17     that's not on there.
     18                        Washington Court House, Ohio,
     19     that's on there.
     20                        And West Sacramento,
     21     California, that's on there.
     22                        Those are all the distribution
     23     centers in the different states that the
     24     allegations from -- in the 2008 and 2017
     25     settlement -- if I could have the Elmo --

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      1     involved, correct?
      2




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     11              Q.        In fact, there's migration all
     12     the way -- and it's been well-known and shown
     13     that in terms of the drugs, for example, the
     14     narcotics that were being sold by McKesson in
     15     Florida, and the migration all the way up
     16     through the Midwest, into Ohio and throughout
     17     the country, correct?
     18                        MS. HENN:       Objection to form.
     19                        THE WITNESS:        Can you say that
     20              again?     I want to make sure --
     21     QUESTIONS BY MR. RAFFERTY:
     22              Q.        Yeah.     You're familiar -- well,
     23     let me show you this.            Let's just look at
     24     this.
     25                        This is from Exhibit 44, and I

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      1     can just put this up, if you want.                  It's a
      2     chart.
      3                        This is from, just so you are
      4     aware, the prescription drug abuse we looked
      5     at earlier.
      6              A.        I've seen it before.
      7              Q.        Okay.
      8              A.        Okay.
      9




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     18              Q.        Right.     So what we're talking
     19     about when we talk about 12 states being
     20     implicated, that's just the 12 states where
     21     the distribution centers are.
     22                        But when we're talking about
     23     systemic and nationwide failures at these
     24     distribution centers, we're talking about
     25     drugs migrating and the distribution centers

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      1     servicing many other surrounding states as
      2     well, correct?
      3                        MS. HENN:       Objection to form.
      4                        THE WITNESS:        Can you clarify
      5              that question for me, please?
      6     QUESTIONS BY MR. RAFFERTY:
      7              Q.        Yeah.
      8




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     13     QUESTIONS BY MR. RAFFERTY:
     14              Q.        Okay.     Now, one last thing.
     15     You were...
     16                        MR. RAFFERTY:         Let's take a
     17              five-minute break.           I think we
     18              might -- my part might be wrapping up.
     19                        VIDEOGRAPHER:         The time is
     20              3:08 p.m., and we're going off the
     21              record.
     22               (Off the record at 3:08 p.m.)
     23                        VIDEOGRAPHER:         The time is
     24              3:17 p.m., and we're back on the
     25              record.

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      1                        DIRECT EXAMINATION
      2     QUESTIONS BY MR. PAPANTONIO:
      3              Q.        You've been questioned about
      4     the migration of opioids, narcotics, that
      5     your company sold, correct?
      6                        That was right where
      7     Mr. Rafferty left off, was asking you about
      8     how narcotics that your company distributed
      9     migrated around the United States, right?
     10                        MS. HENN:       Objection to form.
     11     QUESTIONS BY MR. PAPANTONIO:
     12              Q.        Remember the question before
     13     the break?
     14              A.        Yeah, we were talking about the
     15     concept of migration.
     16              Q.        And he talked about the fact
     17     that not only was there migration, but you --
     18     everywhere this list that he made -- how
     19     about -- let me put that back on here.
     20                        This list that Mr. Rafferty
     21     made, these are actually what we call
     22     distribution centers, correct?                 These are
     23     distribution centers, right?
     24              A.        Those are the locations of our
     25     distribution centers, correct.

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      1              Q.        Right.
      2




     14              Q.        And as a matter of fact, in
     15     addition to these, how many distribution
     16     sites did you have total?
     17                        MS. HENN:       Objection to form.
     18                        THE WITNESS:        It's
     19              approximately 30.
     20     QUESTIONS BY MR. PAPANTONIO:
     21              Q.        Okay.     So in addition to
     22     this -- I'm going to mark this exhibit up a
     23     little more.        And you had 30 total
     24     distribution centers?
     25              A.        Approximately.

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      7              Q.        And in addition to that, we
      8     would have the problem as you talked about,
      9     migration.       And my partner there showed you
     10     what he called the oxy express.
     11                        You've heard the oxy express,
     12     right?
     13                        MS. HENN:       Objection to form.
     14                        THE WITNESS:        He mentioned
     15              that, yeah; he didn't show us
     16              anything.
     17     QUESTIONS BY MR. PAPANTONIO:
     18              Q.        And you would agree that the
     19     oxy express you're familiar with before you
     20     came in here today.           It's not the first time
     21     you've heard it, true?
     22              A.        It's not the first time I've
     23     heard it.
     24



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     11     QUESTIONS BY MR. PAPANTONIO:
     12              Q.        Did you ever study, sir, any
     13     details about the findings that my partner
     14     went over with you this morning that the DEA
     15     had made in your failure to report suspicious
     16     orders and the end result of what that meant
     17     in human life, people dying?
     18                        Did you ever independently do
     19     that in your position in regulatory?
     20                        MS. HENN:       Objection to form.
     21     QUESTIONS BY MR. PAPANTONIO:
     22              Q.        At any time.
     23                        MS. HENN:       Objection to form.
     24                        THE WITNESS:        Could you
     25              rephrase that question, please?

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Yes, sir.       Yeah.
      3




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      1              Q.        Okay.     And you also -- so my
      2     question is:        Did you ever go find out what
      3     the net result of that was when you would
      4     have an excess of your narcotics shipped to a
      5     pharmaceutical company -- or excuse me,
      6     scratch that.
      7




     25

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      6     QUESTIONS BY MR. PAPANTONIO:
      7              Q.        You understand this -- this
      8     case isn't about statistics; it's about human
      9     life, right?        You understand that, right?
     10                        MS. HENN:       Objection to form.
     11                        THE WITNESS:        I understand
     12              that.
     13     QUESTIONS BY MR. PAPANTONIO:
     14




     25

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      8     QUESTIONS BY MR. PAPANTONIO:
      9              Q.        Uh-huh.      And as a matter of
     10     fact, before you came in here today --
     11                        MR. PAPANTONIO:          Would you
     12              share with him 324, please.
     13                        (McKesson-Hartle Exhibit 89
     14              marked for identification.)
     15                        MS. MOORE:       That would be
     16              McKesson-Hartle 89.
     17     QUESTIONS BY MR. PAPANTONIO:
     18              Q.        Before you came in here today,
     19     sir, you knew that the CDC had been -- had
     20     been studying and following exactly what the
     21     loss of human life was because of the sale of
     22     narcotics in the United States.                 You knew
     23     that they had been studying that, right?
     24              A.        I do.
     25              Q.        And so when did you take this

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      1     map that's -- you see this map in front of
      2     you?
      3              A.        I do.
      4              Q.        When did you take it and study
      5     it to find out what the net effect was in the
      6     loss of human life because of diversion of
      7     narcotics from your company?                When is the
      8     first time you did that --
      9                        MS. HENN:       Objection to form.
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        -- if ever?
     12                        MS. HENN:       Objection to form.
     13                        THE WITNESS:        Can you please
     14              rephrase that for me?
     15     QUESTIONS BY MR. PAPANTONIO:
     16              Q.        Yeah.
     17




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      6              Q.        Okay.     And it's -- so here's
      7     what I want to find out:              You knew that in
      8     1999 -- see that map up there?
      9                        You knew in 1999 that is what
     10     the death map looked like in 1999, correct?
     11                        MS. HENN:       Objection to form.
     12     QUESTIONS BY MR. PAPANTONIO:
     13              Q.        The CDC death map, you know
     14     that's what it looked like in 1999, true?
     15              A.        True, I've seen this before.
     16              Q.        Okay.     Let me ask you while
     17     we're talking about that:              Any of these other
     18     companies that said they were here today,
     19     Cardinal or CVS, were any of them at this
     20     place where you talked about the death map?
     21                        MS. HENN:       Objection to form.
     22     QUESTIONS BY MR. PAPANTONIO:
     23              Q.        In your lecture, as you
     24     describe it?
     25                        MS. HENN:       Same objection.

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      1                        THE WITNESS:        I didn't describe
      2              it as a lecture.
      3                        I'm not sure if any -- I've
      4              talked with different individual
      5              chains.
      6     QUESTIONS BY MR. PAPANTONIO:
      7




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      1

      2              Q.        Who did you share it with?
      3                        MS. HENN:       Objection to form.
      4                        Go ahead.
      5




     19              Q.        Shared it.       Okay.
     20                        So if we look --
     21              A.        I understand the map.
     22              Q.        Okay.     Good.     Good.
     23                        Do you know who Mr. Oriente is?
     24              A.        I do.
     25              Q.        He worked for you, didn't he?

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      1                        MS. HENN:       Object to the form.
      2                        THE WITNESS:        He does.
      3     QUESTIONS BY MR. PAPANTONIO:
      4              Q.        Did anybody show you the
      5     deposition of Mr. Oriente before you came in
      6     here today?
      7                        Did anybody show you that
      8     deposition where we questioned him for seven
      9     hours?
     10              A.        I have not seen it.
     11




     23     QUESTIONS BY MR. PAPANTONIO:
     24              Q.        Uh-huh.      And the reason it's
     25     been published, sir, is to be able to have

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      1     people like you understand what the expansion
      2     of your narcotics was doing to human life in
      3     this country.         That's one reason the CDC did
      4     this; you understand that, right?
      5                        MS. HENN:       Objection to form.
      6     QUESTIONS BY MR. PAPANTONIO:
      7              Q.        Did you know that?
      8              A.        Can you rephrase that, please?
      9              Q.        Yeah.
     10                        One reason the CDC came up with
     11     this map is so the entire country could
     12     understand what the expansion of narcotics
     13     was doing in relation to the loss of human
     14     life in this country.
     15                        Did you know that?
     16              A.        Correct, yes.
     17              Q.        Okay.     And you know part of
     18     this case is involved -- the jury is going to
     19     hear economists in this case talk about what
     20     the economic losses were because of that
     21     human life.
     22                        Did you understand that that's
     23     part of the issue that we're involved with
     24     here today?
     25                        MS. HENN:       Objection to form.

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Did you know that?
      3              A.        Yes.
      4              Q.        Okay.     Did you go out and find
      5     out what it is that -- when you have people
      6     dying or people addicted to drugs in a county
      7     or a city, what the economic impact is on
      8     that city or county?
      9                        Did you do any kind of study at
     10     all to find out what that economic impact is?
     11                        MS. HENN:       Objection to form.
     12                        And I'll advise the witness if
     13              counsel is asking about attorney work
     14              product in relation to the case, he
     15              should not respond.
     16                        MR. PAPANTONIO:          I'm not asking
     17              him about anything work product.
     18     QUESTIONS BY MR. PAPANTONIO:
     19




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      1




      4     QUESTIONS BY MR. PAPANTONIO:
      5              Q.        All right.       So if we look at
      6     this map, we start in 1999.               You see, that's
      7     the first one.         And you see down at the very
      8     bottom, you see where the brown is at the
      9     very bottom?        It says that's 30 deaths per
     10     every 100,000.
     11              A.        I see that.
     12              Q.        Right?
     13                        Now, when you took -- when you
     14     looked at this -- I've already asked you
     15     whether or not you took it on yourself to
     16     find out by going to these various states and
     17     counties and cities and finding out what the
     18




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     21              Q.        Well, let's see how much
     22     attention you paid here.              Okay?
     23                        Because the loss of human life
     24     starts in 1999.          You know where Virginia --
     25     West Virginia is on that map?

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      1              A.        I do.
      2              Q.        What would you -- how would you
      3     describe where it is on that map?                  Would it
      4     be the brown place right there?
      5              A.        In here.
      6              Q.        You're going to have to -- are
      7     you pointing to the brown area there?
      8                        Can I put a circle around the
      9     brown area?
     10              A.        Yeah.     Right there.
     11              Q.        That's West Virginia, right?
     12              A.        Correct.
     13              Q.        Now, that's in 1999.            They're
     14     telling you by this map that 30 people for
     15     every 100,000 people have died, correct?
     16                        MS. HENN:       Objection to form.
     17     QUESTIONS BY MR. PAPANTONIO:
     18              Q.        That's the information that map
     19     gives you in 1999.
     20                        MS. HENN:       Objection to form.
     21                        THE WITNESS:        Correct.       That's
     22              the mortality rate.
     23     QUESTIONS BY MR. PAPANTONIO:
     24              Q.        And then the -- well, the
     25     mortality rate is people dying, right?

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      1              A.        Correct.
      2              Q.        Okay.     And then we look at the
      3     brown place on the map over here to the west,
      4     and that's -- where is that, New Mexico?
      5              A.        Right there.
      6              Q.        Is that New Mexico?
      7              A.        I can't tell the outline of the
      8     state, but I...
      9              Q.        Well, there's one big brown
     10     area right there.
     11                        Do you understand that that --
     12              A.        Yeah, that area.
     13              Q.        Okay.     You understand that's a
     14     county, right?
     15              A.        Right.     Correct.
     16              Q.        And what they've -- what the
     17     map actually does is it breaks it down into
     18     counties.       It doesn't just tell you a state.
     19     It says, in this county in 1999, we had 30
     20     people for every 100,000 people who were
     21     dying.
     22                        That's what this map told you
     23     in 1999, right?
     24                        MS. HENN:       Objection to form.
     25

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Correct?
      3              A.        Correct.
      4              Q.        And nevertheless, you're
      5




     11     QUESTIONS BY MR. PAPANTONIO:
     12              Q.        And your company is the number
     13     one pharmaceutical company selling narcotics
     14     in this country, correct?              Number one.        Isn't
     15     that what --
     16                        MS. HENN:       Objection to form.
     17     QUESTIONS BY MR. PAPANTONIO:
     18




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      5              Q.        As a matter of fact, you've
      6     gone to conventions where all of you-all have
      7     been together talking about these types of
      8     issues, about the problem of drugs being
      9     spread out across the country.
     10                        MS. HENN:       Objection to form.
     11     QUESTIONS BY MR. PAPANTONIO:
     12




     25

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Right?
      3                        Okay.     And when you talked
      4     about it, you actually talked about issues
      5     about how many people are dying in these
      6     various counties around the country from
      7     overdose on their narcotics and your
      8     narcotics, right?
      9                        MS. HENN:       Objection to form.
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        That's correct, isn't it?
     12              A.        Could you restate that?
     13              Q.        Yeah.
     14




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      1




      5              Q.        Have you ever had that
      6     conversation in a room or out of a room, sir?
      7                        MS. HENN:       Objection to form.
      8                        MR. PAPANTONIO:          Give me the
      9              document.
     10                        MR. SUDDATH:        Objection.
     11     QUESTIONS BY MR. PAPANTONIO:
     12              Q.        Have you?       Yes or no?
     13                        MS. HENN:       Objection to form.
     14     QUESTIONS BY MR. PAPANTONIO:
     15




     25              Q.        All right.       Sir, let's go to

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      1     2000.     Let's go to -- the next page is 2000.
      2                        Could we do something -- what
      3     I'd like to do here is keep 1999 up on the
      4     left, and let's go through a comparison on
      5     the right.
      6                        So in 2000 -- let's look at
      7     that.     Actually, what I'd really --
      8                        MR. PAPANTONIO:          Can you
      9              understand what I'm saying here?                 Can
     10              you just put one and one, or is that
     11              not possible?        One on each -- one on
     12              each screen.
     13                        VIDEOGRAPHER:         No, they're
     14              connected.
     15                        MR. PAPANTONIO:          Okay.     That's
     16              fine.     We can do this.
     17     QUESTIONS BY MR. PAPANTONIO:
     18              Q.        All right.       So you see -- does
     19     it look like in 2000 that there's an
     20     expansion of the death data taking place, or
     21     do you see any difference in that between
     22     1999 and 2000?
     23                        Do you see any appreciable
     24     differences in death occurring in this
     25     country?

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      1                        MS. HENN:       Objection to form.
      2     QUESTIONS BY MR. PAPANTONIO:
      3              Q.        2000.
      4              A.        Yeah, you see different
      5     states -- or different counties are shaded
      6     different colors.
      7              Q.        It's expanding, isn't it?
      8     Death in the United States is expanding, and
      9     this map shows that, doesn't it?
     10              A.        Correct.
     11




     19     QUESTIONS BY MR. PAPANTONIO:
     20              Q.        All right.       Let's go to the
     21     next one.
     22                        Can I tell you something?              I
     23     want you to understand.             I'm not blaming you
     24     for all this; you understand that?
     25              A.        I understand.

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      1              Q.        Okay.     I'm just asking
      2     questions.
      3              A.        I understand.
      4              Q.        So please don't think I'm
      5     blaming you.        You didn't even get there until
      6     2008.
      7              A.        2014.
      8              Q.        2014.
      9                        So obviously we're not at 2014
     10     now.
     11                        But what is important to me,
     12     Mr. Hartle, is this information was available
     13     to McKesson.        That's all I'm trying to get at
     14     right here right now.            Okay?
     15              A.        Understood.
     16              Q.        Okay.     So we go to 2001.           Tell
     17     me whether you see any appreciable difference
     18     in the amount of death taking place in the
     19     United States between 1999 -- you know what
     20     you can do?        If it helps you, you can keep
     21     1999 right next to you and just tell me
     22     whether or not you see an expansion of death
     23     in human -- whether you see an expansion of
     24     human death because of narcotics in this
     25     country.

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      1                        Do you see an expansion here?
      2                        MS. HENN:       Objection to form.
      3     QUESTIONS BY MR. PAPANTONIO:
      4              Q.        In 2001, would you have -- is
      5     there anything appreciable that you see that
      6     maybe we ought to know about, 2001?
      7              A.        Again, different -- different
      8     shadings and different expansions.
      9              Q.        And tell me what's significant,
     10     sir, about the shading and the expansions.
     11     Let's focus on that.
     12                        Do you see the one right in the
     13     middle that's kind of a tan, it's -- let's
     14     call it a white.          It's says there's 15.9
     15     human beings dying from drug overdoses for
     16     every 100,000 people in those areas.
     17                        Do you see that tan area?
     18              A.        The scale and the shading?
     19              Q.        Yes, sir.       Yes, sir.
     20              A.        I do see that.
     21              Q.        Okay.     I want you to watch that
     22     as we go, okay?          There's two things I'd like
     23     you to watch.         I'd like you to watch that,
     24     which is about middle of the graph, right?
     25     The middle of the graft is -- graph is 14 --

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      1     14 to 15.9 human deaths per hundred thousand.
      2                        And I'd like you to keep your
      3     eye on that 30 at the bottom where that's 30
      4     human beings dying for every 100,000.
      5                        So let's go to the next one.
      6     The next one is 2002.
      7




     14              Q.        Yes, sir.
     15                        And would you agree that in
     16     each one of those -- each one of those areas
     17     where we have some color beyond the blue that
     18     you had -- that your company was distributing
     19     in those areas?
     20              A.        Sorry, can you rephrase that?
     21              Q.        Yeah, I'm trying to take the
     22     blue out right now.           I'm going to talk about
     23     the blue in just a minute.
     24              A.        Okay.
     25

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      9     QUESTIONS BY MR. PAPANTONIO:
     10              Q.        Yes, sir, that's what I'm
     11     trying to figure out.
     12                        All right.       Now, the next
     13     thing -- that's 2002, and then we have 2003.
     14                        And in 2003, do you still
     15     continue to see an expansion of human death
     16     from narcotic overdoses taking place in the
     17     United States?         2003.
     18              A.        Yes.
     19




     24              Q.        When did you start distributing
     25     narcotics?       What year?

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      1                        MS. HENN:       Objection to form.
      2                        THE WITNESS:        I'm not 100
      3              percent sure.
      4     QUESTIONS BY MR. PAPANTONIO:
      5              Q.        It was around 1999, wasn't it?
      6                        MS. HENN:       Objection to form.
      7     QUESTIONS BY MR. PAPANTONIO:
      8              Q.        Do you know?
      9              A.        I don't know.
     10              Q.        Okay.
     11              A.        I actually don't know.
     12              Q.        I'll show you more details on
     13     that, but I want to go through this map.
     14                        Let's go through 2004.             You see
     15     an expansion of human death on that map in
     16     2004?
     17                        Are you able to see an
     18     appreciable difference between 1999 where
     19     people were dying and 2004 where people were
     20     dying from narcotic overdoses in the United
     21     States?
     22              A.        Yes.
     23




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      1




      5              Q.        And then in 2005, you start
      6     seeing -- do you -- can you -- it may just be
      7     me, but do you start seeing there's even an
      8     expansion between New Mexico and California,
      9     that it seems to be more and more growing in
     10     those areas on the West Coast?
     11                        Do you see that expansion, sir?
     12                        If you don't, it might just be
     13     my imagination, but it looks like there's an
     14     expansion of human death between New Mexico
     15     and California.
     16                        MS. HENN:       Objection to form.
     17     QUESTIONS BY MR. PAPANTONIO:
     18              Q.        Correct?
     19              A.        I can see the shading
     20     differences, yeah.
     21              Q.        Yeah.
     22                        And also, if you take -- take a
     23     close look around.           Look around where West
     24     Virginia is.        You see we started off with
     25     just kind of that brown area and then we had

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      1     blue?     You see the tan that's expanding?
      2                        MR. PAPANTONIO:          Could you put
      3              a circle around that, Corey?
      4     QUESTIONS BY MR. PAPANTONIO:
      5              Q.        You see how that's expanding?
      6     Even right around West Virginia there's an
      7     expansion area there?
      8              A.        I do.
      9              Q.        Okay.     In -- after we're done
     10     with this, I'm going to be talking about some
     11     areas in West Virginia that were affected.
     12                        We've talked about Landover and
     13     Lakeland and Aurora, Salt Lake City.                   There's
     14     some areas we haven't talked about, and I
     15     want to talk to you about West Virginia.
     16                        And do you know approximately
     17     where the pharmacy -- do you know where
     18     Kermit, West Virginia, is there?
     19              A.        I don't know its exact location
     20     in West Virginia, but --
     21              Q.        You're familiar with what
     22     happened in Kermit?
     23              A.        I am.
     24              Q.        Okay.     We'll talk about that in
     25     just a minute, but let's go through this map.

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      1                        Okay.     The next one is 2006.
      2                        Do you have any kind of
      3     appreciation in what the expansion of human
      4     death was in 2006 when you compare it to
      5     2000 -- to 1999?
      6                        MS. HENN:       Objection to form.
      7                        THE WITNESS:        Again, it
      8              continues to expand.
      9     QUESTIONS BY MR. PAPANTONIO:
     10              Q.        Yeah.     If I see some and you
     11     don't see it, feel free to tell me.                   I say,
     12     you know, I may be seeing something that you
     13     don't see, and that's fair enough.                  We see
     14     things different.
     15                        But do you see where even that
     16     area around West Virginia is continuing to
     17     expand as far as human death?
     18                        MS. HENN:       Objection to form.
     19     QUESTIONS BY MR. PAPANTONIO:
     20              Q.        I'm in 2006.
     21              A.        Oh, in 2006?
     22              Q.        Yes, sir.
     23              A.        Yeah.
     24              Q.        When you make that comparison,
     25     can you tell an appreciable difference in the

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      1     expansion even beyond 2005?
      2              A.        I can see a difference, a few
      3     more counties shaded different colors.
      4              Q.        Yes, sir.
      5                        Okay.     And as we go forward --
      6     let's continue.          2007, you see an expansion
      7     there, don't you?           Look at that West Virginia
      8     area.
      9                        MR. PAPANTONIO:          Circle that
     10              West Virginia area for me, would you,
     11              Corey?     And then also circle that
     12              brown area out west.
     13                        Do you know where that is?               See
     14              that big brown area out west next
     15              to -- see that?         There you go.
     16     QUESTIONS BY MR. PAPANTONIO:
     17




     22              Q.        Okay.     And you know what?           Just
     23     for matter of time, let's go ahead -- let me
     24     just go ahead and show you what -- let me
     25     show you what 2016 looks like.

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      1                        MR. PAPANTONIO:          How about
      2              putting up 2006 for me, would you?
      3                        And what I'd like to you do if
      4              you could -- is there any way I could
      5              get a comparison between 2016 and a
      6              comparison between 2009 up on the
      7              screen?      Okay.
      8     QUESTIONS BY MR. PAPANTONIO:
      9              Q.        Do you see a difference between
     10     19 -- excuse me, 1999 and 2016?                 You see
     11     how -- 2016 is the expansion of human death
     12     in the United States.
     13              A.        Clearly I see the difference.
     14                        MS. HENN:       Objection to form.
     15     QUESTIONS BY MR. PAPANTONIO:
     16              Q.        You see a clear difference
     17     there.
     18                        And not only that, but do you
     19     also appreciate the fact that of the brown
     20     area that has expanded, it is -- that's area
     21     that is 30 -- that brown area is 30 human
     22     lives per every 100,000 people and -- you see
     23     that?
     24              A.        I do.
     25              Q.        And, sir, I'm not suggesting

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      1     this is -- what year did you get with the
      2     company?
      3              A.        2014.
      4              Q.        And it appears to me that what
      5     you did when you came to the company is you
      6     did -- you did due diligence on what had
      7     occurred before you got there.                 As I listened
      8     to your testimony this morning, it sounded
      9     like you actually did due diligence to figure
     10     out how you could do your job, correct?
     11                        MS. HENN:       Objection to form.
     12                        THE WITNESS:        Yes, and I had a
     13              previous job in which I was doing -- I
     14              was focused on diversion and these
     15              trends as well.
     16     QUESTIONS BY MR. PAPANTONIO:
     17              Q.        But you feel like there were
     18     certain things that my partner went through
     19     with you, some of those documents that nobody
     20     had ever shown to you; is that a fair
     21     statement?
     22                        MS. HENN:       Objection to form.
     23                        THE WITNESS:        There were a few
     24              that I hadn't seen.
     25

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Yeah.
      3




     18     QUESTIONS BY MR. PAPANTONIO:
     19              Q.        Yes, sir.
     20                        All right.       The -- we talked
     21     about -- earlier we talked about a hierarchy,
     22     and I think it was on -- I think it was on
     23     document 7 -- well, it was number 41.                    If you
     24     look at 41, my partner, Troy, went over
     25     details about what the hierarchy is with the

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      1     company.      And it -- 795 is my document, but I
      2     think it was marked as 41.
      3                        Well, let me just ask you --
      4     you don't have to go there.               It's okay.        I
      5     can just ask you.
      6                        The structure is Nate Hartle
      7     would be senior director.              Underneath you
      8     would be Michael Oriente and a guy named
      9     Micheal Bishop and Jay Es -- what is it,
     10     Espaillat?
     11              A.        Espaillat.
     12              Q.        Espaillat.
     13                        And then you've got another
     14     one, Adam Palmer.
     15              A.        Palmer, right.
     16




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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Okay.     And one thing that
      3     you --
      4                        MR. PAPANTONIO:          Would you put
      5              up -- would you put up photograph --
      6              this is -- this is a photograph of
      7              Mr. Oriente, and I'm putting it up
      8              there because the jury has seen his
      9              deposition, and I just want to make
     10              sure they know we're talking about the
     11              same person.
     12                        Put up 1557, please.
     13                        MS. HENN:       And, Counsel, could
     14              you please mark it for the record, a
     15              demonstrative?
     16                        MR. PAPANTONIO:          Yeah, we'll
     17              mark it as a demonstrative.               What is
     18              it?
     19                        Okay.     Well, excuse me, 1627.
     20              1627.     Could you put that up on the
     21              screen?
     22                        MS. HENN:       Will you please mark
     23              it with a sticker?
     24                        MR. PAPANTONIO:          We will mark
     25              it.    We will mark it.

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      1                        MS. MOORE:       McKesson-Hartle
      2              149.
      3                        (McKesson-Hartle Exhibit 149
      4              marked for identification.)
      5     QUESTIONS BY MR. PAPANTONIO:
      6              Q.        That fellow worked for you,
      7     didn't he?
      8              A.        He works for me, correct.
      9              Q.        And he worked at a place -- you
     10     remember all of the discussion about Landover
     11     that you had with my partner today?
     12              A.        Correct.
     13              Q.        That's where he was -- he was
     14     director of Landover --
     15                        MS. HENN:       Objection to form.
     16     QUESTIONS BY MR. PAPANTONIO:
     17              Q.        -- right?       That was a
     18     distribution center.
     19              A.        Right.
     20              Q.        He was a director of Landover,
     21     correct?
     22              A.        He was in that facility, yes.
     23              Q.        Yeah.
     24                        And he was the head guy in
     25     charge in Landover, true, or were you also

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      1     involved with Landover?
      2                        MS. HENN:       Objection to form.
      3                        THE WITNESS:        I was not.
      4     QUESTIONS BY MR. PAPANTONIO:
      5              Q.        Yeah, Landover had already been
      6     closed by the time you got there to the
      7     company, right?
      8              A.        Yes.
      9




     19     QUESTIONS BY MR. PAPANTONIO:
     20              Q.        It was closed 2012, right?
     21              A.        If that's the specific time
     22     frame before I got there.
     23              Q.        Yeah.     Yes, sir, it's 2012.
     24                        And this guy, this Oriente who
     25     we're looking at right here, he was the one

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      1     in charge of making the decisions about the
      2     sale of narcotics from your company to
      3     pharmacies in the Landover -- I mean, out of
      4     the Landover facility, right?
      5                        MS. HENN:       Objection to form.
      6                        THE WITNESS:        I believe that's
      7              true.
      8     QUESTIONS BY MR. PAPANTONIO:
      9              Q.        And after it was closed, where
     10     did you -- where did he go, do you know?
     11                        MS. HENN:       Objection to form.
     12                        THE WITNESS:        He became a
     13              director of regulatory affairs.
     14     QUESTIONS BY MR. PAPANTONIO:
     15              Q.        Okay.     And could you -- I'm
     16     sorry, go ahead.
     17              A.        He was a director of regulatory
     18     affairs.      He ultimately came to the RNA team.
     19              Q.        He's still there.           He's still
     20     there, isn't he?
     21              A.        He is.
     22




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      1




     21     QUESTIONS BY MR. PAPANTONIO:
     22              Q.        Good integrity?
     23                        Integrity matters in your
     24     company, doesn't it?
     25                        MS. HENN:       Objection to form.

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      1                        THE WITNESS:        It does.
      2     QUESTIONS BY MR. PAPANTONIO:
      3              Q.        Don't you even have -- don't
      4     you even have little jingle about integrity?
      5     What is -- some kind of mission statement.
      6     Do you know what it is?
      7                        MS. HENN:       Objection to form.
      8     QUESTIONS BY MR. PAPANTONIO:
      9              Q.        What is that mission statement
     10     about integrity?
     11              A.        The ICARE principles.
     12              Q.        ICARE, that's right.
     13                        And ICARE, the first thing in
     14     it is integrity, right?
     15              A.        Right.
     16              Q.        And integrity really matters
     17     when you're dealing with narcotics, the sale
     18     of narcotics, around the country.                  That's
     19     pretty important, isn't it?
     20              A.        It is.
     21              Q.        And as a matter of fact, it's
     22     such -- it is such part of your mission
     23     statement that you actually put it on your
     24     documents, the -- what do you call it?                    I
     25     what?

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      1              A.        It's called ICARE.
      2              Q.        ICARE.
      3                        And it's called the ICARE
      4     program, and that's the mission statement for
      5     your company, right?
      6                        MS. HENN:       Objection to form.
      7     QUESTIONS BY MR. PAPANTONIO:
      8              Q.        It's important, isn't it?
      9              A.        It's important.
     10




     20     QUESTIONS BY MR. PAPANTONIO:
     21              Q.        All right.       And so --
     22              A.        That's why --
     23              Q.        I'm sorry, go ahead.            Are you
     24     finished?
     25              A.        We'll talk about it later, I'm

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      1     sure.
      2              Q.        Well, let's go ahead and talk
      3     about it right now, okay?
      4                        You actually --
      5                        MR. PAPANTONIO:          Could you put
      6              up -- could you put up 1564?
      7                        You're going to have mark that
      8              for them.       It's 1564, and I don't know
      9              what exhibit list -- what the number
     10              is going to be.
     11                        (McKesson-Hartle Exhibit 161
     12              marked for identification.)
     13     QUESTIONS BY MR. PAPANTONIO:
     14              Q.        Why do you --
     15                        MS. MOORE:       McKesson-Hartle
     16              161.
     17     QUESTIONS BY MR. PAPANTONIO:
     18              Q.        Let me say something clear
     19     here.     I'm not questioning your integrity --
     20              A.        Right.
     21              Q.        -- okay, just so you know that.
     22




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     15              Q.        Okay.
     16              A.        But I do want to clarify one
     17     thing, and I'll explain more later.
     18              Q.        That's okay.        I don't -- I want
     19     you to explain it.
     20




     24              Q.        Let me talk some more.             Okay?
     25              A.        Okay.

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     12     QUESTIONS BY MR. PAPANTONIO:
     13              Q.        Right.
     14                        And that's what my partner,
     15     Troy Rafferty, has been asking you about all
     16     morning?
     17              A.        Right.
     18




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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Yes, sir.
      3




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     13                        MS. HENN:       Let's just have that
     14              read back or if you could repeat it,
     15              please, because we're having --
     16                        MR. PAPANTONIO:          Yeah, it
     17              says -- I feel like I'm in a clown car
     18              here.     Okay?
     19                        MS. HENN:       Thank you, sir.
     20     QUESTIONS BY MR. PAPANTONIO:
     21




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     10                        MR. PAPANTONIO:          Show them,
     11              please, 1579.
     12     QUESTIONS BY MR. PAPANTONIO:
     13              Q.        Now, I want to -- you
     14     understand before you got -- before you got
     15     to McKesson, there was a lot of water under
     16     the bridge about the sale of narcotics all
     17     over the country.           There had been a lot of
     18     things that occurred with the company in the
     19     sale of narcotics --
     20              A.        Right.
     21              Q.        -- true?
     22                        MS. HENN:       Objection to form.
     23     QUESTIONS BY MR. PAPANTONIO:
     24



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     13              Q.        Okay.     Let's go on to this --
     14                        MS. MOORE:       McKesson-Hartle
     15              162.
     16                        (McKesson-Hartle Exhibit 162
     17              marked for identification.)
     18     QUESTIONS BY MR. PAPANTONIO:
     19




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     16              Q.        Okay.     But he was working with
     17     Oriente, correct, Michael Oriente?
     18              A.        He was.
     19              Q.        So he would have been working
     20     in Landover?        Landover?       Was he working
     21     Landover?
     22              A.        No.
     23                        MS. HENN:       Objection to form.
     24                        THE WITNESS:        No.     No.
     25

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      1     QUESTIONS BY MR. PAPANTONIO:
      2




     25

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     25              Q.        All right.       Well, let's -- you

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      1     were asked earlier about -- I don't know what
      2     this is.      It's this map.          It's 88 -- mine is
      3     872.     It's the McKesson --
      4                        MR. PAPANTONIO:          What was that
      5              actually marked?
      6                        MS. MOORE:       McKesson-Hartle 100
      7              is his copy.
      8                        MR. PAPANTONIO:          Okay.     This is
      9              McKesson-Hartle 100.
     10                        (McKesson-Hartle Exhibit 100
     11              marked for identification.)
     12     QUESTIONS BY MR. PAPANTONIO:
     13




     25              Q.        If I didn't characterize that

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      1     right --
      2                        MS. HENN:       Objection to form.
      3     QUESTIONS BY MR. PAPANTONIO:
      4              Q.        Right?
      5              A.        Yeah, as part of my entire
      6     career, I want to stay in tune with --
      7              Q.        And you saw where my partner
      8     actually showed you that you were doing what
      9     the DEA told you to do, which was to stay
     10     abreast of what the newspaper reports are in
     11     any given area about problems that there may
     12     be with opioids.
     13                        MS. HENN:       Objection to form.
     14     QUESTIONS BY MR. PAPANTONIO:
     15




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      1

      2     QUESTIONS BY MR. PAPANTONIO:
      3              Q.        Okay.     Explain to the jury,
      4     because this might be the first time they
      5     hear this.       Explain to the jury why that
      6     information gathering of staying abreast of
      7     what newspaper articles are reporting might
      8     be important.
      9                        Go ahead, Mr. Hartle.
     10              A.        Okay.     Could you ask that
     11     question again?
     12              Q.        Yes, sir.
     13




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      1




     17              Q.        And as a matter of fact, this
     18     document actually reiterated what you, I
     19     think -- from what I'm understanding what
     20     you're saying, this document reiterated what
     21     you were doing on your own, and that is
     22     seeking out information in various news
     23     sources to find out what's going on in the
     24     country.
     25                        This document -- if you'll go

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      1     to .3.     See that .3 there?            You see it
      2     actually goes -- it actually does what you're
      3     talking about.         This document actually is a
      4     presentation that's being made to somebody
      5     through McKesson.
      6                        Do you know who this
      7     presentation would be made to?
      8                        MS. HENN:       Objection to form.
      9     QUESTIONS BY MR. PAPANTONIO:
     10              Q.        Would it be salespeople?
     11                        MS. HENN:       Objection to form.
     12                        THE WITNESS:        I think it was
     13              used in a variety of ways.              I know it
     14              was given to, you know, our chain
     15              partners.       I've given part of this
     16              presentation, versions of it, to
     17              external partners as well.
     18     QUESTIONS BY MR. PAPANTONIO:
     19




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      1

      2              Q.        Okay.     The -- here's what --
      3     here's what I want to be clear about, because
      4     I'm not -- it's just not clear to me as I
      5     listened to everything.             Maybe you can clear
      6     this up.
      7                        If you've got -- let's say
      8     you've got -- let's get Kermit.
      9                        MR. PAPANTONIO:          Can I get this
     10              thing on here just -- we're going to
     11              go back to that same document.
     12     QUESTIONS BY MR. PAPANTONIO:
     13              Q.        Here's Kermit.
     14




     22     QUESTIONS BY MR. PAPANTONIO:
     23              Q.        Yes, sir.
     24                        And one thing they do is they
     25     drive around in various areas, true?

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      1                        I mean, they drive around in
      2     the areas where they live, right?
      3              A.        True.
      4                        MS. HENN:       Objection to form.
      5     QUESTIONS BY MR. PAPANTONIO:
      6




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     24              Q.        As a matter of fact, you have a
     25     pill mill -- let's draw a pill mill here.

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      1




     17              Q.        Yes, sir.
     18                        And the other thing at a pill
     19     mill that this salesperson could ascertain
     20     pretty quickly is whether there's -- whether
     21     there's being cash exchanged in the mill; in
     22     other words, are these people going and
     23     buying these pills for cash?
     24                        They can ascertain that, right?
     25     All they got to do is walk in.

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      1                        MS. HENN:       Objection to form.
      2     QUESTIONS BY MR. PAPANTONIO:
      3




      9     QUESTIONS BY MR. PAPANTONIO:
     10              Q.        Yes, sir.
     11                        And so that really is one of
     12     the responsibilities for -- and I'm coming
     13     back to your theory, because I agree with you
     14     on your theory and I'm going to talk to you
     15     more about it.
     16




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      1




     11              Q.        Yes, sir.
     12                        And in this trial, the jury is
     13     going to hear about something called notice.
     14     You ever heard that term?              And that is,
     15     notice is when your company is told,
     16     "something's wrong here, and you ought to
     17     take action on it."
     18                        You ever heard that term?
     19     Maybe it's not a term you've heard, but I'm
     20     just -- I'm curious, have you ever heard the
     21     term?
     22                        MS. HENN:       Objection to form.
     23     QUESTIONS BY MR. PAPANTONIO:
     24              Q.        You're on notice that
     25     something's wrong in Kermit.

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      1                        MS. HENN:       Objection to form.
      2                        THE WITNESS:        I've heard the
      3              term "notice."
      4     QUESTIONS BY MR. PAPANTONIO:
      5              Q.        Okay.     You understand what it
      6     is.
      7              A.        I do.
      8              Q.        Now, just because I've looked
      9     at your file and I didn't see any time when
     10     you were doing any kind of field work on the
     11     ground where you were -- it was your
     12     responsibility to observe pill mills, to
     13     observe the news that was taking place in
     14     these various counties all over the country.
     15     I never saw where that was your
     16     responsibility.
     17                        Is that a fair statement, or
     18     did I miss is that?
     19                        I just reviewed your record.
     20                        MS. HENN:       Objection.
     21     QUESTIONS BY MR. PAPANTONIO:
     22              Q.        You were never a salesperson?
     23              A.        No, that's a fair statement.
     24              Q.        Okay.     You went right up to
     25     management in regulatory, correct?

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      1              A.        Correct.
      2              Q.        But you're familiar with what
      3     these salespeople did, true?
      4                        MS. HENN:       Objection to form.
      5                        THE WITNESS:        I'm familiar with
      6              it.
      7     QUESTIONS BY MR. PAPANTONIO:
      8              Q.        Okay.     So let's mark that --
      9                        MS. MOORE:       McKesson-Hartle
     10              163.
     11                        (McKesson-Hartle Exhibit 163
     12              marked for identification.)
     13     QUESTIONS BY MR. PAPANTONIO:
     14              Q.        What I'm going to do here,
     15     if -- you might want to keep this document in
     16     front of you that I have here.                 I'm just
     17     going to go through these -- some of these
     18     articles that are here, sir.
     19                        Okay?
     20              A.        Okay.
     21              Q.        I want to talk to you about
     22     them.     And what I want to ask you about since
     23     they're all -- these articles that I'm going
     24     to go through are actually in your own -- not
     25     yours but your company's flyer that I'm

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      1     showing you here right now, okay, the
      2     PowerPoint.
      3                        So the first thing in there is
      4     a discussion about CDC.             I think it's on the
      5     previous page.         But you would agree that the
      6     CDC was an important source of information
      7     for your company.           And I want to be careful I
      8     say something.         I want to be careful of
      9     something.
     10                        Anytime I say "you," I'm not
     11     talking about you, Mr. Hartle.                 I'm talking
     12     about your company.           So don't be offended by
     13     that.     Understand I'm talking about your
     14     company.
     15                        Okay?
     16              A.        Okay.
     17              Q.        So anytime -- so you understand
     18     that one source of information that your
     19     company used was the CDC, right?
     20              A.        Correct.
     21              Q.        Yes?
     22                        Okay.     And as a matter of fact,
     23     that death map that we just went over, that
     24     was created by the CDC, correct, where we saw
     25     the progression of death from 1999 to -- yes,

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      1     sir, that was created by the CDC.
      2              A.        Correct, I believe it was.
      3              Q.        Okay.     And this one I want to
      4     show you is 1062.
      5                        MS. MOORE:       McKesson-Hartle
      6              102.
      7                        (McKesson-Hartle Exhibit 102
      8              marked for identification.)
      9     QUESTIONS BY MR. PAPANTONIO:
     10              Q.        You know why I want to go over
     11     some facts here right now?               What I want to do
     12     here, Mr. Hartle, is I want to review some of
     13     this literature, and I just want to see what
     14     it is you observed firsthand after you got
     15     there.     Nothing you could have --
     16                        What were you doing before you
     17     went for McKesson, work for McKesson?
     18              A.        I worked for Target Corporation
     19     where I led -- for about 19 years led
     20     investigations on a lot of different
     21     subjects, different areas, including in
     22     health care --
     23              Q.        Right.
     24              A.        -- in monitoring diversion,
     25     monitoring dispensing.

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      1              Q.        You had -- exactly.           You had a
      2     long history of doing that.               That's why they
      3     hired you and they made you a supervisor --
      4              A.        Correct.
      5              Q.        -- correct?
      6                        You did have a lot of
      7     experience there.
      8              A.        Correct.
      9              Q.        But this was kind of moving you
     10     into a new area when you went to work where
     11     it dealt with the sale of narcotics.                   That's
     12     the first time you'd actually dealt with the
     13     sale of narcotics, correct?
     14              A.        Correct.
     15                        MS. HENN:       Objection to form.
     16     QUESTIONS BY MR. PAPANTONIO:
     17              Q.        Okay.     So --
     18              A.        As a distributor.
     19              Q.        Yes, sir, I gotcha.
     20              A.        Yeah.
     21              Q.        I gotcha.
     22                        So as we look at this, I want
     23     to ask you about what you would agree with,
     24     what you knew, some of this information.                     I
     25     want to find out how much information you had

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      1     as you were proceeding in your job.
      2                        This is the CDC.          It says, "CDC
      3     grand rounds prescription drug overdoses, a
      4     US epidemic."
      5                        Now, what I see here is that
      6     this is January 2012.            And I get that you
      7     still weren't there in 2012, correct?
      8              A.        Correct.
      9              Q.        All right.       And it says -- if
     10     you look at this first paragraph, this says,
     11     in 20 -- in 20 -- "in 2007" -- you see where
     12     I am here?       "In 2007" --
     13              A.        Yes.
     14              Q.        -- "approximately 27,000
     15     unintentional drug overdose deaths occurred
     16     in the United States, one death every
     17     19 minutes."
     18                        Now, you know, sir, that
     19     actually progressed, that number of death
     20     actually progressed at -- went higher after
     21     2007.     You know that, or do you?
     22              A.        I do.
     23              Q.        Okay.     It says, "Prescription
     24     drug abuse is the fastest growing drug
     25     problem in the United States."

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      1                        You, I think, have already said
      2     that you agreed with that, and I'm not --
      3     well, maybe I misunder -- maybe I did.
      4                        Do you agree with that?             I want
      5     to be fair and make sure I got this right.
      6




     11              Q.        Okay.     And again, this is not
     12     your responsibility at this place.                  At this
     13     time you're still at Target, correct?
     14              A.        Correct.
     15              Q.        You don't have anything to do
     16     with all this.
     17                        It says, "The increase of
     18     unintentional drug overdose death rates in
     19     years" -- and it gives us -- it gives us a
     20     figure we can go to, but it -- "has been
     21     driven by increased use of a class of
     22     prescription drugs called opioid analgesics.
     23     Since 2003, more overdose deaths have
     24     involved opioid analgesics than heroin and
     25     cocaine combined."

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      1                        Right?
      2                        And you're familiar with that.
      3     You understood as we just looked at the map,
      4     sir, the progression is pretty apparent.                     I
      5     mean, this is the CDC talking about starting
      6     in 2007, but the progression is pretty
      7     apparent, isn't it?           It was apparent to you
      8     when you got there?
      9                        MS. HENN:       Objection to form.
     10     QUESTIONS BY MR. PAPANTONIO:
     11




     14              Q.        All right.       Then if you look at
     15     the bottom it says, "Drug distribution
     16     through the pharmaceutical supply chain was
     17     the equivalent of 96 milligrams of morphine
     18     per person in 1997 and approximately
     19     700 milligrams per person in 2007, an
     20     increase of 600 percent.              That 700 milligrams
     21     of morphine per person is enough for everyone
     22     in the United States to take a typical
     23     5-milligram dose of Vicodin, hydrocodone,
     24     every four hours for three weeks."
     25

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      1




     25              Q.        I didn't see that in your

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      1     record.       If it's there, please tell me if it
      2     is.
      3              A.        It's a true statement.
      4




     22              Q.        Okay.     So the next -- I'm going
     23     to continue with some of these articles.                     I
     24     just want to -- I'm not going to be able to
     25     go through the whole thing, but if there's

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      1     something in an article that you say, "Look,
      2     I want to talk about this," feel free to do
      3     it.
      4                        This next one -- this next one
      5     is document 1620.
      6                        MS. MOORE:       That would be
      7              McKesson-Hartle 148.
      8                        (McKesson-Hartle Exhibit 148
      9              marked for identification.)
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        You want to take a look at
     12     that, Mr. Hartle, and see what you think?
     13                        This is -- also, everything
     14     that I'm doing right now, up to a certain
     15     point, and I'll tell you when that point is,
     16     this is simply coming from that document that
     17     you have in front of you that is McKesson
     18     talking about newspaper articles that were
     19     important, right?
     20                        MS. HENN:       Objection to form.
     21              I'm sorry, I don't understand what you
     22              just said.
     23     QUESTIONS BY MR. PAPANTONIO:
     24              Q.        Okay.     Well, let me
     25     restatement -- let me restate it.

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      1                        I'm going to be talking about
      2     that -- that PowerPoint, that McKesson
      3     PowerPoint, and in there it is -- there's
      4     footnotes, there's places where they talk
      5     about news articles.            Okay?
      6                        I'm going to be talking about
      7     those, and so as I go forward, that's what
      8     I'm trying to tell you.
      9              A.        Okay.
     10              Q.        This one is called, "Let's Come
     11     Together to Solve the Opioid Crisis."
     12                        MS. HENN:       Counsel, I'm not
     13              sure we have the right document.
     14                        THE WITNESS:        Yeah.     This is a
     15              Wikipedia page.
     16                        MR. PAPANTONIO:          Oh, wait,
     17              wait.     I'm sorry.       1561.      Give him --
     18              hold that because I'm going to get to
     19              that in just a minute.             1561.
     20                        MS. MOORE:       McKesson-Hartle
     21              145.
     22                        (McKesson-Hartle Exhibit 145
     23              marked for identification.)
     24                        MR. PAPANTONIO:          Could we blow
     25              that up?      He's not going to be able to

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      1              see that.       I can't even read the
      2              thing.     If you could read that.              I
      3              can't even read it on the paper.
      4              Let's see if we can blow it up on the
      5              screen.
      6     QUESTIONS BY MR. PAPANTONIO:
      7              Q.        Did you know that McKesson did
      8     an -- they did an ad in the Wall Street
      9     Journal?      Do you remember this ad they did?
     10                        This is after they had been
     11     punished by the DEA in 2008, after they had
     12     been punished by the Department of Justice in
     13     2015, after they had been fined $150 million,
     14     after they had been fined $13 million.                    I
     15     could go on.        But then they put this ad in
     16     the newspaper.
     17                        Did you see this ad in the
     18     newspaper?
     19              A.        I don't recall.
     20                        MS. HENN:       Objection to form.
     21                        THE WITNESS:        Excuse me.
     22     QUESTIONS BY MR. PAPANTONIO:
     23              Q.        "Let's Come Together to Solve
     24     the Opioid Crisis."
     25                        You see that?

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      1              A.        I see that.
      2              Q.        You understand if we look at
      3     that map that we -- that death map that takes
      4     us all through 2016, this is a little bit
      5     late for solving the opioid crisis.                   If they
      6     had an ad in the newspaper, Wall Street
      7     Journal, like this that says -- let's read
      8     it.    Let's read what it says, because these
      9     are really nice words, and I want to see
     10     which...
     11                        It says, "Our nation is in the
     12     midst of an enormous epidemic."
     13                        Now, we can agree, the epidemic
     14     had started long before 2017, right?                   Right?
     15              A.        Yeah, based on CDC information.
     16              Q.        But right after they get hit by
     17     the Department of Justice for $150 million
     18     where they have to admit they were -- they
     19     were unlawfully failing to report suspicious
     20     orders, those types of things, then this ad
     21     comes out and it says, "Our nation is in the
     22     midst of an enormous epidemic," right?
     23              A.        There's what it says.
     24                        MS. HENN:       Objection to form.
     25

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        It says, "The only way we can
      3     solve it is by coming together to create a
      4     practical solution."
      5




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      1




     11     QUESTIONS BY MR. PAPANTONIO:
     12              Q.        Okay.     So it says, "The only
     13     way we're going to solve it is by coming
     14     together."
     15                        What is -- what do you mean,
     16     "coming together"?           What -- what was -- how
     17     were you going to come together to solve
     18     that -- the problem that we saw on that death
     19     map that extended from New York to
     20     California?        What was -- what is coming
     21     together?
     22                        Would you underline "coming
     23     together"?
     24                        How do you want to come
     25     together to solve that problem?                 What is --

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      1     did they -- did you have a come-together
      2     meeting or something where they said, "We got
      3     a solution; now we're going to come
      4     together"?
      5                        MS. HENN:       Objection to form.
      6                        THE WITNESS:        No, I didn't
      7              write this, so I don't know exactly
      8              what the meaning was.
      9     QUESTIONS BY MR. PAPANTONIO:
     10              Q.        I know you didn't write it.
     11              A.        Yeah.
     12              Q.        I'm not -- again, this isn't a
     13     blame game.        I'm just wondering.
     14                        Do you remember a meeting where
     15     we're going to come together and here is our
     16     practical solutions to all these people dying
     17     in the United States from our narcotics?
     18                        MS. HENN:       Objection to form.
     19     QUESTIONS BY MR. PAPANTONIO:
     20              Q.        I'm sorry.
     21              A.        Could you ask the question
     22     again?
     23              Q.        Yes, sir.
     24



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      1




     16     QUESTIONS BY MR. PAPANTONIO:
     17              Q.        All right.       Do you know -- I'm
     18     just -- let's read on.             It says, "At McKesson
     19     we're working to do our part by continuously
     20     enhancing our programs designed to detect and
     21     prevent opioid diversion."
     22                        Isn't that what you told the
     23     DEA you were going to do in 2008?
     24                        Underline that.
     25                        In 2008, the president of your

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      1     company -- you know Mr. Hammergren?                   Have you
      2     ever met Mr. Hammergren?
      3              A.        Not in person.         I've been to
      4     conferences with him.            I know who he is.           He
      5     is our CEO.
      6              Q.        You know what else I'm
      7     interested in?         You ever met Mr. Hobart?              We
      8     saw Mr. Hobart's name a lot.                He's an
      9     attorney, right?          You've met him?
     10              A.        I have.
     11              Q.        As a matter of fact, we're here
     12     in Covington & Burling here in Washington,
     13     DC, and this is where Mr. Hobart's office is,
     14     right?     True?
     15              A.        Correct.
     16              Q.        Did you meet him here in this
     17     office?
     18              A.        I've met Geoff.
     19              Q.        You've met Geoff.           That's his
     20     name, Geoff Hobart?
     21              A.        Correct.
     22              Q.        Did you know also in this --
     23     also in this building that we're sitting
     24     right here -- you know who Eric Holder is?
     25              A.        I do.

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      1              Q.        Did you meet Mr. Eric Holder?
      2                        You been up to his office?
      3                        MS. HENN:       Objection to form.
      4                        THE WITNESS:        I have not.
      5     QUESTIONS BY MR. PAPANTONIO:
      6              Q.        You haven't met him, right?
      7              A.        No.
      8




     25

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      1




      6              Q.        And you know about the article
      7     where the DEA was complaining that they had
      8     made recommendations about Aurora, where they
      9     suggested that Aurora, because of all the bad
     10     things that were done in Aurora, that there
     11     should be -- there should be fines in excess
     12     of a billion dollars.            Do you know that?
     13                        Do you remember that article
     14     that appeared in the Wall Street Journal?
     15                        MS. HENN:       Objection to form.
     16     QUESTIONS BY MR. PAPANTONIO:
     17              Q.        I'll get to it in a minute, but
     18     I'm just --
     19              A.        I think I recall, yeah.
     20              Q.        You do recall that.
     21                        And you recall that those same
     22     DEA agents -- the same DEA -- well, let me
     23     show it to you.          You've seen it, I know.
     24     This is --
     25                        MS. MOORE:       McKesson-Hartle 84.

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      1              It's P1.108.
      2                        (McKesson-Hartle Exhibit 84
      3              marked for identification.)
      4     QUESTIONS BY MR. PAPANTONIO:
      5              Q.        And you've seen this, right?
      6     It's attached -- that's actually attached to
      7     one of these documents, but I want to make
      8     sure you've seen this before.
      9              A.        I have.
     10              Q.        All right.       Well, let's read it
     11     together since -- let's go from this -- this
     12     ad that appeared in the Wall Street Journal
     13     about how you're going to come together to
     14     solve the crisis in the United States.
     15                        This headline on this article
     16     is, "We feel like our system was highjacked.
     17     DEA agents say a huge opioid case ended in a
     18     whimper."
     19                        Now you were actually
     20     involved -- at this point, sir, you were
     21     involved in the process of simply trying to
     22     do your job and provide information to the
     23     people so they could work through this
     24     problem that existed in 2015, right?
     25                        MS. HENN:       Objection to form.

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        You were providing them
      3     information.        We got to work through the
      4     problem of -- we got to work through this
      5     problem.      We've been accused of certain
      6     things like not reporting suspicious orders
      7     in Aurora, right?
      8              A.        Could you rephrase that?
      9                        MS. HENN:       Objection to form.
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        Yes, sir.
     12              A.        I don't understand who is
     13     "they."
     14              Q.        I want to make sure that I'm
     15     clear.
     16                        You did not participate in
     17     anything that occurred dealing with the
     18     $150 million fine; yes or no?
     19                        MS. HENN:       Objection to form.
     20                        THE WITNESS:        That was before I
     21              joined McKesson.
     22     QUESTIONS BY MR. PAPANTONIO:
     23              Q.        That's right.
     24                        But nevertheless, you were
     25     familiar with the fact that the question had

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      1     been raised by the DEA where they had -- they
      2     had actually -- they had actually made a
      3     recommendation that there be criminal charges
      4     brought against McKesson, true?
      5                        MS. HENN:       Objection to form.
      6     QUESTIONS BY MR. PAPANTONIO:
      7              Q.        Take a minute and look at this.
      8     I want you to be familiar with it.                  I don't
      9     want you guessing about this because these
     10     questions I'm about to ask you are important.
     11                        Are you familiar with that
     12     article, sir?
     13              A.        I am.
     14              Q.        I'm kind of short on time so I
     15     want to move through this.
     16




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      1




     14     QUESTIONS BY MR. PAPANTONIO:
     15              Q.        And Mr. Hobart is a partner
     16     with the Attorney General Eric Holder, a law
     17     partner at Covington & Burling with Eric
     18     Holder.       You know that, correct?
     19                        MS. HENN:       Objection to form.
     20                        THE WITNESS:        I do.
     21     QUESTIONS BY MR. PAPANTONIO:
     22              Q.        And as a matter of fact, we're
     23     sitting in an office as we take this
     24     deposition, and in this office is Mr. Eric
     25     Holder's office, right?             You know that?

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      1                        MS. HENN:       Objection to form.
      2                        THE WITNESS:        I know it's in
      3              this complex, sure.
      4     QUESTIONS BY MR. PAPANTONIO:
      5              Q.        In this complex.
      6                        And you know Mr. Hobart's
      7     office is in this complex, correct?
      8                        MS. HENN:       Objection to form.
      9                        THE WITNESS:        Correct.
     10     QUESTIONS BY MR. PAPANTONIO:
     11




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     24              Q.        Okay.     That's fine.        It's okay.
     25     If you don't remember, you don't have to --

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      1              A.        I understand.
      2              Q.        You don't have to make anything
      3     up or try to remember.
      4                        Okay.     Let me keep working
      5     here.     Here's another news article.                It's
      6     1526, Document 1526.
      7                        MR. PAPANTONIO:          Carol, do you
      8              have a --
      9                        MS. MOORE:       Yes, sir.       1556.
     10                        MR. PAPANTONIO:          Oh, I'm sorry,
     11              1556.     Yeah.     I got it.       I got it.       I
     12              got it.
     13                        MS. MOORE:       McKesson-Hartle
     14              141, P1.1556.
     15                        (McKesson-Hartle Exhibit 141
     16              marked for identification.)
     17     QUESTIONS BY MR. PAPANTONIO:
     18              Q.        Mr. Hartle, this is -- take a
     19     minute and look at this.              Just breeze through
     20     it if you can.         I got a couple of just small
     21     questions for you.
     22                        But it's got your name at the
     23     top of it; do you see that?               Nate Hartle.
     24                        Do you see that, Mr. --
     25              A.        I do.

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      1              Q.        Okay.     And you know who Karen
      2     Harper is?       You've dealt with Karen Harper?
      3              A.        I do.
      4              Q.        Okay.     Now, did you know that
      5     there was a representation that was made -- a
      6     representation that was made to Congress that
      7     your company did not have any way to find out
      8     what other drug companies were selling to the
      9     various pharmacies?           Did you know that?
     10                        MS. HENN:       Objection to form.
     11                        THE WITNESS:        Could you say
     12              that again, please?           Did I know --
     13     QUESTIONS BY MR. PAPANTONIO:
     14              Q.        Yes, sir.
     15                        Did you know that there was a
     16     representation made -- it wasn't from your
     17     company, but there was a representation made
     18     to Congress during the Congressional hearings
     19     that there -- the reason they didn't know
     20     exactly how many drugs were being told --
     21     sold in a pharmacy is they didn't know what
     22     the other companies were selling to the
     23     pharmacy.
     24                        You ever heard that?
     25                        MS. HENN:       Objection to form.

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      1                        THE WITNESS:        I've heard
      2              statements like that.
      3     QUESTIONS BY MR. PAPANTONIO:
      4




     19              Q.        That's what I'm trying to get
     20     at.    I just want to be clear about something.
     21                        MS. HENN:       Counsel, let's make
     22              sure we don't talk on top of each
     23              other.
     24     QUESTIONS BY MR. PAPANTONIO:
     25              Q.        Yeah.     So I just want to be

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      1     clear.     I think you're -- you're already
      2     answering the question.             I want to get to a
      3     little more direct.
      4              A.        Okay.
      5




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     10                        MS. HENN:       Objection to form.
     11                        THE WITNESS:        I need you to
     12              please restate that again --
     13     QUESTIONS BY MR. PAPANTONIO:
     14              Q.        Yes, sir.
     15              A.        -- so I can be very clear.
     16              Q.        Yeah, I want to be clear.
     17                        MR. PAPANTONIO:          Would you read
     18              that back?       Read that back if you
     19              don't mind.
     20                        She'll read that back to you.
     21                        (Court Reporter read back
     22              question.)
     23                        MS. HENN:       Objection to form.
     24     QUESTIONS BY MR. PAPANTONIO:
     25              Q.        That's a fair question, isn't

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      1     it?    I mean, you know the answer to that.
      2




      6              Q.        That's all I'm trying to get
      7     to.    I just want to make sure I didn't
      8     misunderstand it.
      9              A.        Right.
     10              Q.        And it wasn't you that
     11     testified in front of Congress; I'm not
     12     suggesting that you did.              But if that was
     13     represented in front of Congress, that just
     14     wouldn't -- if it was represented in front of
     15     Congress that it would be absolute -- that
     16     McKesson had no way of finding out what other
     17     drug companies were selling to any given
     18     pharmacy, if that was represented, that
     19     wouldn't be true, correct?
     20                        MS. HENN:       Objection to form.
     21                        THE WITNESS:        Can you please
     22              say that again?
     23     QUESTIONS BY MR. PAPANTONIO:
     24              Q.        Yes, sir.
     25              A.        Yeah.

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      1              Q.        If it was represented to
      2     Congress that McKesson had no way of knowing
      3     what other drug companies were selling to any
      4     given pharmacy, narcotics, that wouldn't be
      5     true, correct?
      6                        MS. HENN:       Objection to form.
      7




     25

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      1




     20              Q.        Correct.      If you look at this
     21     document that's in front of you, it's 1526.
     22                        MR. PAPANTONIO:          What did you
     23              say that number was?
     24                        MS. HENN:       And, Counsel, we
     25              need to take a break relatively soon.

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      1              We've been going an hour and ten
      2              minutes.
      3                        MR. PAPANTONIO:          Yeah, okay.
      4              You want to take a break right now?
      5              We'll come back at it.
      6                        How much -- what have I got,
      7              another 45 minutes, something like
      8              that?
      9                        MS. HENN:       I think more like an
     10              hour.
     11                        VIDEOGRAPHER:         Six hours 10
     12              minutes on the record.
     13                        MR. PAPANTONIO:          Okay.     And why
     14              don't you take a break.
     15                        THE WITNESS:        That's fine.
     16                        VIDEOGRAPHER:         The time is
     17              4:39 p.m., and we're going off the
     18              record.
     19               (Off the record at 4:39 p.m.)
     20                        VIDEOGRAPHER:         The time is
     21              4:50 p.m., and we're back on the
     22              record.
     23     QUESTIONS BY MR. PAPANTONIO:
     24              Q.        Sir, I want to show you -- I
     25     want to talk to you about -- you know I used

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      1     that word "glut"?
      2              A.        You did.
      3                        MR. PAPANTONIO:          Okay.     Carol,
      4              can I have a piece of white -- just a
      5              white piece of paper?            Don't worry
      6              about that other.          Give me a piece of
      7              white paper and then we'll move on.
      8     QUESTIONS BY MR. PAPANTONIO:
      9              Q.        I want to show you this 1556.
     10     It'll be up on the screen, and I want to ask
     11     you about this.
     12                        Standby.
     13                        MR. PAPANTONIO:          Oh, here it
     14              is.    Let's -- hold on just a second.
     15              Let's back up to the beginning of it.
     16              It shouldn't be that big.
     17                        Why don't we start it over.
     18              Okay.
     19                        (Video played.)
     20     QUESTIONS BY MR. PAPANTONIO:
     21




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      1




     10              Q.        Well, here's what I'm getting
     11     at.    Here's really what I'm trying to get to,
     12     okay?
     13                        Let's go back to this.             Let's
     14     go back to Kermit.           If you got a town like
     15     Kermit -- and in a minute -- you don't have
     16     to take my word for it; I'll show you the
     17     actual numbers -- that Kermit had a
     18     population of about 400 -- I think it's 406
     19     people, okay? -- during the time that the --
     20     during the time that Congress actually wrote
     21     a letter to your president, Mr. Hammergren.
     22                        Have you ever reviewed that
     23     letter that Congress wrote to Mr. Hammergren?
     24                        MS. HENN:       Objection to form.
     25                        THE WITNESS:        Dated when?

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        I'll have to get to it in a
      3     minute.       But I'm going to rely on the facts
      4     in that letter, and if I misstate it, it'll
      5     be in that letter.
      6                        But Kermit was in West
      7     Virginia, correct?           You know that?
      8              A.        Correct.
      9              Q.        And it had a population of
     10     about 406 people; you know that.                 It's a very
     11     small population.
     12                        MS. HENN:       Objection to form.
     13                        THE WITNESS:        Small population.
     14     QUESTIONS BY MR. PAPANTONIO:
     15              Q.        Okay.     But nevertheless, it was
     16     getting millions of pills shipped into this
     17     little area of a population of 406 people;
     18     did you know that?
     19




     25

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Okay.     We'll talk about
      3     specifics in a minute.             I don't expect you to
      4     remember numbers.           These are big numbers.
      5                        So let's just say if I've got
      6     millions of pills being shipped into a town
      7     that there's only 406 people, part of those
      8     are children, right?            So it's not -- it's not
      9     406 adults, 406 people in the town -- in this
     10     town of Kermit.          And you've got millions of
     11     pills being shipped in there, right?
     12




     18     QUESTIONS BY MR. PAPANTONIO:
     19              Q.        Yeah.
     20                        I don't want to put words in
     21     your mouth, but we're talking logic now.                     If
     22     you got a population of 406 people, they
     23     can't -- they can't absorb -- I'm going to
     24     write those words so we're going to come back
     25     to that.      They can't absorb millions of

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     15              Q.        Yeah.     So let me show you this
     16     film again because I'm going to go from this
     17     film, and then we're going to talk about
     18     specifics about what the actual Congressional
     19     letter said about places like Kermit and...
     20                        There's a family.           There's
     21     pills coming in from Judy's Pharmacy.
     22                        You remember us talking about
     23     Judy's Pharmacy earlier on?               I just called it
     24     Judy's Pharmacy.
     25              A.        I do remember that.

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      1              Q.        Okay.     So Judy's Pharmacy is
      2     selling more -- they're getting in all these
      3     pills, but the population -- if the
      4     population can't cover the pills, then the
      5     excess has to go somewhere, correct?
      6                        MS. HENN:       Objection to form.
      7     QUESTIONS BY MR. PAPANTONIO:
      8




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      1




     17     QUESTIONS BY MR. PAPANTONIO:
     18              Q.        All right.       So two things I
     19     want to mark.         I want to mark -- I'm going to
     20     give you a hard copy of what we just put up
     21     there, and let's get it marked.
     22                        MS. MOORE:       This is
     23              McKesson-Hartle 165.
     24                        MR. PAPANTONIO:          This is the
     25              drawing that I did.

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      1                        MS. MOORE:       The video is --
      2                        MR. PAPANTONIO:          And then we'll
      3              get the video put in.            I might have --
      4              anyway, let me keep moving.
      5                        MS. MOORE:       1526.
      6              McKesson-Hartle 140.
      7                        (McKesson-Hartle Exhibits 165
      8              and 140 marked for identification.)
      9     QUESTIONS BY MR. PAPANTONIO:
     10




     21     QUESTIONS BY MR. PAPANTONIO:
     22              Q.        All right.       So now let's go and
     23     let's look at what -- let's look at what
     24     the -- what Congress wrote to the president
     25     of your company, what they said about what

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      1     was happening in this little area called
      2     Kermit.
      3                        You know where Kermit is,
      4     correct?
      5                        MR. PAPANTONIO:          Let's give him
      6              P144.
      7                        MS. MOORE:       McKesson-Hartle 76.
      8                        (McKesson-Hartle Exhibit 76
      9              marked for identification.)
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        Okay.     So if we go through this
     12     document, this is written Congress -- this is
     13     Congress of the United States and -- it's
     14     Congress of the United States, and it's
     15     written to Mr. Hammergren.
     16                        Do you see that?
     17              A.        Yes.
     18              Q.        And Mr. Hammergren is the
     19     president of the company.              He's president and
     20     chief executive officer of your company,
     21     McKesson, and has been all the time you've
     22     worked there, correct?
     23              A.        Correct.
     24              Q.        All right.       So the first
     25     paragraph -- let's look at that first

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      1     paragraph.       It says, "Pursuant to the Rules X
      2     and XI of the US House of Representatives,
      3     the committee is continuing to investigate
      4     the opioid epidemic in the US that is taking
      5     115 lives a day."
      6                        You've known that that's a
      7     figure that's been thrown around there for a
      8     long time, and that is 115 people die every
      9     day because of the opioid crisis, correct?
     10                        MS. HENN:       Object to form.
     11                        THE WITNESS:        I've seen those
     12              type of figures, yeah.
     13     QUESTIONS BY MR. PAPANTONIO:
     14              Q.        And then it says, "As part of
     15     our investigation, the committee wrote to
     16     you" -- he's talking to Mr. Hammergren -- "on
     17     May 8, 2017, regarding your distribution
     18     practices generally, and in particular with
     19     West Virginia -- with respect to West
     20     Virginia.       As we mentioned in that letter,
     21     the opioid epidemic has been particularly
     22     devastating to West Virginia."
     23                        Now, you knew that when you
     24     came to work with this company, that West
     25     Virginia -- not just West Virginia but other

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      1     parts of this country were devastated by an
      2     overabundance, a glut, of opioids.
      3                        You know that, right?
      4                        MS. HENN:       Objection to form.
      5                        THE WITNESS:        I knew certain
      6              parts of the country, sure, were
      7              impacted by the epidemic.
      8     QUESTIONS BY MR. PAPANTONIO:
      9              Q.        It wasn't just West Virginia;
     10     you know that?
     11              A.        I know that.
     12              Q.        You knew it was New Mexico.
     13     That comes to your mind, doesn't it?
     14              A.        Correct.      I know different
     15     parts of the country.
     16              Q.        Ohio, right?        Kentucky, right?
     17                        I mean, other -- other parts
     18     besides West Virginia.             I'm going to just
     19     talk about West Virginia right here.
     20                        But it says, "As we mentioned
     21     in that letter, the opioid epidemic has been
     22     particularly devastating to West Virginia.
     23     For example, in 2015, West Virginia had the
     24     highest opioid overdose death rate in the
     25     nation.       In addition to leading to numerous

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      1     deaths, the opioid crisis in West Virginia
      2     has also caused many social challenges for
      3     its residents and has devastated the
      4     economy."
      5                        Now, you remember me asking
      6     you -- we started off, and we were talking
      7     about the loss of life.             And we looked at
      8     the -- we looked at the death map.                  And --
      9     but this is saying, yes, loss of life is
     10     something that we see, and we also see that
     11     loss of life --
     12                        MR. PAPANTONIO:          Would you
     13              underline "devastating the economy"
     14              for me, Corey.
     15     QUESTIONS BY MR. PAPANTONIO:
     16              Q.        It says, "Press reports
     17     indicate the epidemic is now estimated to
     18     cost West Virginia $8.8 billion a year."
     19




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      1




     20     QUESTIONS BY MR. PAPANTONIO:
     21              Q.        Okay.     Fair enough.
     22                        You see it says -- page 2 --
     23     page 2.       Go to page 2, please.
     24                        It says, "Sav-Rite No. 1,
     25     Kermit, West Virginia."

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      1                        That's a store that you sold
      2     pharmaceuticals -- that McKesson sold
      3     narcotics to, correct?
      4              A.        Correct.      I said correct.
      5              Q.        I'm sorry, I didn't hear.
      6                        It said, "In December of 2016,
      7     the Charleston Gazette reported that the
      8     Sav-Rite Pharmacy located in Kermit, West
      9     Virginia, was among the top purchasers of
     10     hydrocodone in West Virginia between 2007 and
     11     2012.     According to US Census data, the town
     12     of Kermit had a population of 406 individuals
     13     in 2010."
     14                        I used the 400.          You remember
     15     using 406 as the population in Kermit?
     16              A.        I do.
     17              Q.        Okay.     And then it says, "DEA
     18     data indicates that over a two-year period,
     19     McKesson shipped nearly 5 million doses of
     20     opioids to a pharmacy in a town of 406
     21     people."
     22




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      1




     13     QUESTIONS BY MR. PAPANTONIO:
     14              Q.        Okay.     It says, "According to
     15     the DEA, automation of reports and
     16     consolidation orders, data obtained by the
     17     committee, in 2006 McKesson shipped 2,211,630
     18     hydrocodone pills and 78,500 oxycodone to
     19     Strosnider Pharmacy, a/k/a Sav-Rite Pharmacy
     20     No. 1."
     21                        Do you see that?
     22              A.        I see that.
     23                        MR. PAPANTONIO:          Underline 78
     24              million 500 -- 78,500 oxycodone pills.
     25     QUESTIONS BY MR. PAPANTONIO:

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      1              Q.        It says, "This means that in
      2     2006, McKesson would have shipped in an
      3     average of 186,303 codone {sic} pills per
      4     month, for a 6,059 hydrocodone pills per
      5     day."
      6                        Do you see that?
      7                        MS. HENN:       Objection to form.
      8                        THE WITNESS:        I see that.
      9     QUESTIONS BY MR. PAPANTONIO:
     10




     16              Q.        Okay.     And it says -- it says,
     17     the bottom line in that paragraph, "Applying
     18     the DEA data, it can be determined that
     19     McKesson supplied 76 percent of the Sav-Rite
     20     Pharmacy No. 1 hydrocodone pills that year."
     21




     24              Q.        You agree by the time you got
     25     involved, all the damage had been done to

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      1     Kermit, right?
      2                        MS. HENN:       Objection to form.
      3     QUESTIONS BY MR. PAPANTONIO:
      4




      8                        MS. HENN:       Objection to form.
      9                        THE WITNESS:        I joined in 2014.
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        That's all I'm trying to get
     12     at.
     13                        Now the next paragraph it says,
     14     "The ARCOS data further shows that in the
     15     following year, 2007, McKesson shipped
     16     2,624,680 hydrocodone pills and 40,900
     17     oxycodone pills to Sav-Rite Pharmacy No. 1.
     18     This is equivalent to an average of 218,723
     19     hydrocodone pills per month, or 7,191
     20     hydrocodone pills per day."
     21                        Now, sir, if that was shipped
     22     into Kermit, those are startling numbers,
     23     aren't they?        I mean, look, just common
     24     sense, those are startling numbers.                   And I'm
     25     not saying you did that, but those are

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      1     startling numbers, aren't they?
      2                        MS. HENN:       Objection to form.
      3     QUESTIONS BY MR. PAPANTONIO:
      4




     18              Q.        Okay.
     19              A.        You'll have to refresh my
     20     memory on that.
     21




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      1



      3     QUESTIONS BY MR. PAPANTONIO:
      4              Q.        Okay.     All right.        It says, "In
      5     that same year, other distributors shipped
      6     1,651,160 total opioids to this pharmacy,"
      7     meaning that Sav-Rite No. 1 received --
      8     received a total of 4,316,740 doses of
      9     opioids pills from all distributors in 7 --
     10     in 2007.
     11                        Now, let me just take a minute
     12     here at this very place where we're talking
     13     about those number of pills, and let me go
     14     back and talk to you about this picture that
     15     deals with glut.          Okay?
     16                        I'm going to use the word
     17     "glut."       If that doesn't work for you, let's
     18     call it an overabundance of pills, if you
     19     want.
     20




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      1




      9              Q.        All right.       Let's go now back
     10     to this.      And it says -- all right.               I'm at
     11     the top of page 3.           The top of page 3 says,
     12     "McKesson alone supplied Sav-Rite No. 1 with
     13     roughly eight times the amount of hydrocodone
     14     for an average retail pharmacy in rural West
     15     Virginia in 2006."
     16                        In 2006, you were still at
     17     Target; is that a correct statement?                   You
     18     weren't at -- you were not at McKesson?
     19              A.        I was at Target.
     20              Q.        And almost ten times the amount
     21     of hydrocodone that an average retail
     22     pharmacy -- here's what I'm getting at, you
     23     see.     They've looked at average comparisons,
     24     and it says that that's -- first of all, you
     25     see --

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      1                        MR. PAPANTONIO:          Underline
      2              McKesson at the top of that paragraph
      3              there.     McKesson.       We're talking about
      4              McKesson.       We're not talking about any
      5              other company besides McKesson.
      6     QUESTIONS BY MR. PAPANTONIO:
      7              Q.        It says, "McKesson alone" --
      8                        MR. PAPANTONIO:          Underline
      9              "alone," please.
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        -- "supplied Sav-Rite No. 1
     12     with roughly eight times the amount of
     13     hydrocodone that an average retail pharmacy
     14     in rural West Virginia received in 2006, and
     15     almost ten times the amount of hydrocodone
     16     that an average retail pharmacy -- that an
     17     average retail pharmacy in rural West
     18     Virginia received in 2007."
     19                        To be real clear -- I want to
     20     make it clear -- this all had happened by the
     21     time you got there, correct?
     22              A.        It did.
     23              Q.        It wasn't -- at this point
     24     there's nothing you can do about water under
     25     that bridge.        There's nothing you can do

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      1     about what happened in Kermit.
      2                        Can we agree to that?
      3                        MS. HENN:       Objection to form.
      4                        THE WITNESS:        Agreed.
      5     QUESTIONS BY MR. PAPANTONIO:
      6              Q.        Now, let's go down to -- let's
      7     go down here, B.          It says, "B, McKesson
      8     resumed supplying opioids to Sav-Rite after
      9     federal authorities began investigating the
     10     pharmacy and after press accounts publicized
     11     law enforcement raids on the pharmacy."
     12                        Now -- okay.        They'd had -- the
     13     place had been raided by the DEA, right?
     14                        They -- they -- everybody
     15     understood at this point that the numbers for
     16     400 -- a population of 406 people were ten
     17     times what they should have been compared to
     18     the average pharmacy, right?
     19                        According to what we just saw,
     20     true?
     21                        MS. HENN:       Objection to form.
     22                        THE WITNESS:        According to
     23              what's in here, correct.
     24     QUESTIONS BY MR. PAPANTONIO:
     25              Q.        All right.       And then it goes

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      1     down and says, "In March 2008, federal
      2     authorities began investigating Sav-Rite
      3     No. 1 and a medical complex owned by
      4     individuals associated with Sav-Rite.                    In
      5     2009, authorities conducted a raid on the
      6     medical complex and on Sav-Rite.                 This raid
      7     was publicized by, among other sources, the
      8     Huntington, West Virginia, Herald Tribune,
      9     which reported" -- let's go to the next page.
     10                        Now, first of all, I want to
     11     say this:       You've been here all day long and
     12     people have been asking you tough questions,
     13     but I want to -- I want to say this:                   You
     14     knew that the importance of looking at news
     15     reports was something that you did in your
     16     regulatory process, right?
     17                        MS. HENN:       Objection to form.
     18     QUESTIONS BY MR. PAPANTONIO:
     19




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      1

      2              Q.        But back here they're taking --
      3     they're saying that the Gazette newspaper
      4     right there in town was telling this story.
      5     And let's read what it said.                Let's see what
      6     the Gazette said in that newspaper report.
      7                        It says, "In an area with a
      8     population of just a few hundred, the two
      9     Sav-Rite pharmacies received millions of
     10     doses -- units of the painkiller hydrocodone
     11     in 2006, enough to rank 22nd nationally in
     12     most hydrocodone units purchased by retail
     13     pharmacies."
     14                        It says, "One federal agent who
     15     investigated the pharmacies said
     16     prescriptions are filled in such a rate that
     17     Sav-Rite workers literally throw bags
     18     containing the drugs over a divider and onto
     19     a counter in order to keep up the pace.                     The
     20     agent also noticed that one cash drawer was
     21     so full that the clerk could not get it to
     22     close properly."
     23                        Now, let me take you back up
     24     with a couple of facts.
     25                        When you came along -- what

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      1     year was it?
      2              A.        2014.
      3              Q.        2014.
      4




     24              Q.        Okay.     And so 75 percent of
     25     this problem that we're looking at -- well,

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      1     let me scratch that.            I'll just keep on
      2     reading so we can get through this.
      3                        It says, "The owner of
      4     Sav-Rite, James Wooley, was ultimately
      5     convicted of conspiracy to acquire or obtain
      6     controlled substances and sentenced to prison
      7     in 2012."
      8                        Mr. Hartle would have never
      9     made the decision to go back and do business
     10     with these people after all this happened,
     11     would you?
     12                        MS. HENN:       Objection to form.
     13     QUESTIONS BY MR. PAPANTONIO:
     14              Q.        I'm trying to use your
     15     judgment.       Understand, the raid took place;
     16     man went to prison; McKesson's selling
     17     75 percent of the drugs.              It's 10 percent --
     18     it's ten times the national average of
     19     narcotics.
     20




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      1




     19              Q.        Yeah.
     20                        It says, "It does not appear
     21     that McKesson shipped drugs to Sav-Rite No. 1
     22     between 2008 and 2010; however, DEA data
     23     acquired by the committee indicates that in
     24     2011 McKesson again began shipping drugs to
     25     Sav-Rite No. 1."

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      1                        Do you see that?
      2              A.        I see that.
      3              Q.        Now, let's take a look at the
      4     last paragraph there.            "According to federal
      5     search warrant, Sav-Rite Kermit was ranked
      6     22nd in the nation among retail pharmacies
      7     with respect to purchase of hydrocodone dose
      8     units.     The average per pharmacy, 2006, was
      9     97,431.       Reports citing residents of Kermit
     10     and surrounding region state that everyone in
     11     Kermit, just about everyone in the wooded
     12     hollows of Mingo County" -- that's where my
     13     partner there, Paul Farrell, is from.
     14                        You met Paul Farrell yesterday,
     15     right?
     16              A.        I did.
     17              Q.        Yeah.     It says, "They knew that
     18     Sav-Rite was a pill mill."               Sav-Rite was a
     19     pill mill.
     20




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      1              Q.        And in the records of McKesson
      2     we'll get to in a minute, you remember
      3     pictures of pill mills actually being
      4     included in PowerPoints that were presented
      5     at McKesson, at their meetings, actual
      6     PowerPoints of what pill mills looked like,
      7     people standing around in line.
      8                        You remember pictures like
      9     that, don't you?
     10              A.        I do.
     11              Q.        Okay.     It says, "Press reports
     12     describe a stampede of customers frequenting
     13     the pharmacy, so many that the town had to
     14     hire an extra police officer to handle a
     15     spike in crime, extra crews to clean up the
     16     mess that the clientele left behind."
     17                        Now here's my -- here's my
     18     question:       Why should taxpayers be
     19     responsible for cleaning up the mess that was
     20     left by McKesson because of what was created
     21     by this glut of pills in this town?
     22                        MS. HENN:       Objection to form.
     23     QUESTIONS BY MR. PAPANTONIO:
     24



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     25

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      9              Q.        Mr. Hartle, you know what, I've
     10     become accustomed to us talking logic and
     11     common sense.         So let me continue that.
     12     Okay?
     13




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     11              Q.        Okay.     So let me go down here.
     12     It says, A.        Go down -- see where it says,
     13     "According to DEA data, McKesson supplied a
     14     pharmacy in Mount Gay-Shamrock" --
     15                        MR. PAPANTONIO:          Ms. Henn, tell
     16              me when I'm -- you're watching the
     17              time; I'm not.
     18                        MS. HENN:       That's not what was
     19              that was about, but the videographer
     20              can tell you.
     21                        MR. PAPANTONIO:          How much time
     22              do I have left here?
     23                        VIDEOGRAPHER:         18 minutes, sir.
     24                        MR. PAPANTONIO:          18 minutes.
     25                        THE WITNESS:        What page are you

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      1              on, sir?
      2     QUESTIONS BY MR. PAPANTONIO:
      3              Q.        I'm on the same page.
      4              A.        On the same page still?
      5              Q.        I'm on the same page.
      6                        It says, "According to DEA
      7     data, McKesson supplied a pharmacy in Mount
      8     Gay-Shamrock, West Virginia, with more than
      9     six times the amount of hydrocodone that an
     10     average pharmacy in rural West Virginia would
     11     have been expected to receive."
     12                        Do you see that?
     13              A.        I'm sorry, I was on the
     14     previous page.         Let me read that real quick.
     15              Q.        "According to DEA data."              Yeah.
     16     Yeah.
     17                        "According to the DEA data,
     18     McKesson supplied a pharmacy in Mount
     19     Gay-Shamrock, West Virginia, with more than
     20     six times the amount of hydrocodone" --
     21                        It's talking about McKesson
     22     here, right?
     23              A.        I see that.
     24              Q.        Okay.
     25                        -- "more than six times the

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      1     amount of the hydrocodone that an average
      2     pharmacy in rural West Virginia would have
      3     been expected to receive."
      4                        I read that.
      5                        Then it goes on to say,
      6     "DEA" --
      7                        MR. PAPANTONIO:          When I'm ten
      8              minutes -- let me know when I'm ten
      9              minutes out.
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        "DEA ARCOS data showed that
     12     between 2006 and 2014, McKesson supplied
     13     Family Discount Pharmacy in Mount Shamrock
     14     {sic} with 5,122,290 {sic} hydrocodone
     15     pills" -- you see that? -- "and 695,000
     16     oxycodone pills, for a total of 5,818,020
     17     pills."
     18                        Do you know what the -- do you
     19     know what the population of that place was?
     20                        If I told you it was 1,700,
     21     would you be surprised?             Population of 1,700
     22     people, would that surprise you?
     23                        MS. HENN:       Objection to form.
     24                        THE WITNESS:        It would surprise
     25              me.    I don't know what the number is,

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      1              but...
      2     QUESTIONS BY MR. PAPANTONIO:
      3              Q.        If it's only 1,700, those are
      4     startling numbers, aren't they?
      5              A.        It's a small population.
      6              Q.        Yeah.
      7                        Okay.     It says, "McKesson
      8     provided this pharmacy with 986,500 oxycodone
      9     pills, in addition to 300,100 oxycodone
     10     pills, a 193 percent increase from the year
     11     prior."
     12                        Do you see that?          "193 percent
     13     increase from the year prior" in the amount
     14     of narcotics that they're selling to this
     15     area.
     16                        And from -- "this equals an
     17     average rate in 2013 of 82,000 hydrocodone
     18     pills per month or 2,703 pills per day."
     19                        You see that?
     20              A.        I see those numbers.
     21              Q.        "And 25,000 oxycodone pills per
     22     month."
     23




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      9                        MR. PAPANTONIO:          All right.
     10              We're going to take a quick break and
     11              save ten minutes and see if we can
     12              wrap this up real quick.
     13                        MS. HENN:       All right.
     14                        MR. PAPANTONIO:          Thank you.
     15                        VIDEOGRAPHER:         The time is
     16              5:25 p.m., and we're going off the
     17              record.
     18               (Off the record at 5:25 p.m.)
     19                        VIDEOGRAPHER:         The time is
     20              5:34 p.m., and we're back on the
     21              record.
     22     QUESTIONS BY MR. PAPANTONIO:
     23              Q.        Sir, the -- in document 1165 --
     24     let me show this to you and just put this up
     25     on the screen.         This is 1280.         I'll get to

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      1     this.     It's in 1165, what I'm looking for.
      2     1280.
      3                        MR. PAPANTONIO:          This is --
      4              we're going to give you a copy of
      5              these pictures.
      6                        MS. HENN:       Okay.     Just as
      7              long --
      8                        MR. PAPANTONIO:          They are
      9              attached -- just so you know, they are
     10              attached to 1165.
     11                        MS. HENN:       I see.
     12                        MS. MOORE:       This is
     13              McKesson-Hartle 135.
     14                        (McKesson-Hartle Exhibit 135
     15              marked for identification.)
     16                        MR. PAPANTONIO:          Sir, do we
     17              have that?       Do we have that, Corey?
     18              Do we have those pictures?              Because I
     19              can put them up on the -- I can put
     20              them on right here if you don't.
     21                        Okay.     Let me go -- oh, there
     22              they are.       Okay.
     23     QUESTIONS BY MR. PAPANTONIO:
     24



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      1




     19              Q.        Okay.     Let's mark --
     20                        MR. PAPANTONIO:          Did we mark
     21              this picture right here?
     22                        MS. HENN:       Yes.
     23                        MR. PAPANTONIO:          Okay.
     24     QUESTIONS BY MR. PAPANTONIO:
     25              Q.        And then I -- let me just go

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      1     through some -- through a couple -- we don't
      2     have much time, but let me just go through a
      3     couple of other things.
      4                        Your theory about -- again,
      5     about newspaper articles and reading them and
      6     why it's so important for people to know
      7     what's going on in the news, I want to show
      8     you 951.
      9                        Had you ever heard of a town of
     10     Williamson in West Virginia that actually
     11     took on the name of Pilliamson?
     12                        MS. MOORE:       McKesson-Hartle
     13              101.
     14                        (McKesson-Hartle Exhibit 101
     15              marked for identification.)
     16     QUESTIONS BY MR. PAPANTONIO:
     17              Q.        Had anybody ever told you that
     18     the problem was so bad all the way back in
     19     2011 -- this is the Charleston Gazette-Mail.
     20     And, sir, this is actually -- had you seen
     21     see this article before?              This the
     22     Gazette-Mail talking about the very area
     23     we've been talking about.
     24              A.        I'm not sure.
     25              Q.        Okay.     Well, just for the

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      1     record, I want to point out that as we go
      2     forward, this is a document -- this is a
      3     newspaper article that is actually attached
      4     to the Congressional record.
      5              A.        Okay.
      6              Q.        This came out of the hearings
      7     of the Congressional record.
      8              A.        Okay.
      9              Q.        But I just want to ask you:
     10     Had you ever heard of Williamson, West
     11     Virginia, being -- it called Pilliamson?
     12     Headline's "2011," that's the date,
     13     "prescription drug abuse plagues small West
     14     Virginia town."          And that's in the
     15     Gazette-Mail.         And then it says, "a Pulitzer
     16     Prize-winning newspaper."
     17                        Have you ever seen that before,
     18     the term "Pilliamson," I guess is what I'm
     19     wondering.
     20              A.        I believe I may have, yes.
     21              Q.        And it says -- I have it
     22     right -- it says, "A couple of blocks away,
     23     people lined up before 6 a.m. to visit
     24     another doctor's -- another clinic's doctor.
     25     The community was frustrated.                They called it

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      1     Pilliamson instead of Williamson, said Mingo
      2     County prosecuting attorney Michael Sparks.
      3     It was an open secret, you might say, federal
      4     and state authorities are handling an ongoing
      5     investigation of the clinics, but Sparks says
      6     prescription drug abuse causes most of the
      7     local crimes he prosecutes - robberies,
      8     assaults, forgery."
      9                        Do you see that?
     10                        "Even though the clinics are
     11     now shuttered, substance abuse still plagues
     12     the area.       People can still find pills."
     13                        Do you see that?
     14              A.        I do.
     15




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      1




     22              Q.        Yes, sir.
     23                        Okay.     This is a chart that is
     24     a -- also a part of 1165, document there in
     25     front of you.         It's on page -- it's on .7 of

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      1     1165.
      2                        No, sir, it's not in there.
      3     It's in 1165.         Let me hand you another copy
      4     just so I make sure you have it.
      5                        MS. MOORE:       McKesson-Hartle
      6              134.
      7                        (McKesson-Hartle Exhibit 134
      8              marked for identification.)
      9     QUESTIONS BY MR. PAPANTONIO:
     10              Q.        If you'll go to their --
     11     Mr. Hartle, if you'll look at page 7, .7 --
     12     let's say .7 in the top right-hand corner.
     13              A.        Okay.
     14              Q.        Is that -- do you see a chart
     15     there?
     16              A.        Yes.
     17




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      1




     21     QUESTIONS BY MR. PAPANTONIO:
     22              Q.        Yeah, but this is -- in other
     23     words, this is a document -- this is
     24     McKesson -- you see on the bottom, this is a
     25     McKesson document?

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      1                        MS. HENN:       Objection to form.
      2     QUESTIONS BY MR. PAPANTONIO:
      3




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      1




     16     QUESTIONS BY MR. PAPANTONIO:
     17              Q.        All right.       Fair enough.
     18                        Sir, you would agree, won't
     19     you, if my partner there, Paul Farrell -- if
     20     Paul Farrell were -- just wanted to say,
     21     "Hey, this is a pretty good money maker.                     I
     22     want to go to Kermit and I just want to
     23     distribute 8 million pills," if he did that,
     24     he'd end up in prison, wouldn't he?
     25                        MS. HENN:       Objection to form.

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      1     QUESTIONS BY MR. PAPANTONIO:
      2              Q.        Wouldn't he?
      3                        He can't do that.           He can't
      4     go -- he can't go to Kermit and distribute 8
      5     million narcotic pills.             He'd go to prison,
      6     wouldn't he?
      7                        MS. HENN:       Objection to form.
      8                        THE WITNESS:        He can't as an
      9              individual.
     10     QUESTIONS BY MR. PAPANTONIO:
     11              Q.        Well, what if he was a
     12     corporation, he called it Farrell,
     13     Incorporated, and he likes the idea that he
     14     can make money selling narcotic pills because
     15     he's making a lot of money, what happens if
     16     he goes to Kermit and sells 8 million pills?
     17                        Does he go to prison?
     18                        MS. HENN:       Objection to form.
     19                        THE WITNESS:        I don't know.
     20     QUESTIONS BY MR. PAPANTONIO:
     21              Q.        Well, it's illegal, isn't it --
     22                        MS. HENN:       Objection to form.
     23     QUESTIONS BY MR. PAPANTONIO:
     24              Q.        -- for him to go to town and
     25     sell 8 million pills.            Paul Farrell shows up

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      1     with a big bag of pills, 8 million pills, and
      2     starts selling them in Kermit, that's
      3     breaking the law, isn't he?
      4                        MS. HENN:       Objection to form.
      5                        THE WITNESS:        It depends on the
      6              scenario.       Is he a distributor?            I
      7              mean, I don't know.
      8     QUESTIONS BY MR. PAPANTONIO:
      9              Q.        Well, that's the point, isn't
     10     it?    That's the point.
     11                        You had a special license to do
     12     that, and Paul Farrell doesn't, correct?
     13     That's the only thing that's different.                      You
     14     had a license to do it that you -- you had
     15     the license based on your obligation to
     16




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      1




     19                        MR. PAPANTONIO:          All right.
     20              Thank you, sir.         I don't have any
     21              further questions.
     22                        MS. HENN:       Okay.     Let's go off
     23              the record.        I do have some questions,
     24              and we'll need to change spots.
     25                        VIDEOGRAPHER:         Okay.     The time

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      1              is 5:46 p.m.        We're going off the
      2              record.
      3               (Off the record at 5:46 p.m.)
      4                        VIDEOGRAPHER:         The time is
      5              5:48 p.m.       We're back on the record.
      6                        CROSS-EXAMINATION
      7     QUESTIONS BY MS. HENN:
      8              Q.        Good afternoon, Mr. Hartle.
      9              A.        Good afternoon.
     10              Q.        You testified yesterday and
     11     today that you joined McKesson in 2014; is
     12     that right?
     13              A.        I did.
     14              Q.        Before joining McKesson, you
     15     explained that you worked at Target?
     16              A.        I did.
     17              Q.        What positions did you hold at
     18     Target?
     19              A.        I had a variety of positions in
     20     the almost 19 years that I worked for Target.
     21     I worked in both the assets protection and
     22     the corporate security divisions and held
     23     many different roles at many different
     24     levels, from being in the actual stores to
     25     leading districts or groups or larger groups

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      1     of stores, primarily focused on threat and
      2     fraud in investigations.
      3                        I additionally led some of the
      4     more specialized strategies for Target
      5     related to things like organized retail crime
      6     and fraud.
      7                        I worked at headquarters for
      8     several years helping develop strategies and
      9     building specialized teams, including one
     10     focused on health care.
     11              Q.        Could you describe the team
     12     that you were involved with at Target that
     13     focused on health care?
     14              A.        Sure.
     15                        It was a team that was designed
     16     to do several different things.                 I had been
     17     involved in investigating pharmacy cases for
     18     years, all way back to when I was in the
     19     stores.       This team was designed to, you know,
     20     help identify and support investigations of
     21     pharmacy cases in the field, develop new ways
     22     to identify theft in pharmacies through data
     23     and in other ways was designed to help
     24     develop tools to monitor dispensing of Target
     25     stores, and at the base code level across the

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      1     country to drive action and follow up with
      2     different locations.
      3                        We used other analytics related
      4     to prescribers to determine when we may want
      5     to shut off a particular prescriber, and we
      6     also monitored trends across the country and
      7     proactively engaged with different offices of
      8     diversion control.
      9                        All of that helped us also
     10     influence and help teach and train Target
     11     internally and help revise policies and
     12     procedures related to pharmacy and diversion
     13     specifically.
     14              Q.        When you joined McKesson in
     15     2014, you were a senior director of
     16     regulatory affairs?
     17              A.        Yes.
     18              Q.        Why did you join McKesson in
     19     2014?
     20              A.        I had a great career at Target
     21     and many opportunities, in fact had just been
     22     given some additional responsibilities, but
     23     have always been driven by the work that
     24     we -- my team started and was doing at Target
     25     related to diversion.            I had an opportunity

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      1     to help teach and train Target team members,
      2     help build programs and processes focused on
      3     diversion.
      4                        And when an opportunity came up
      5     with McKesson, you know, I -- you know, it
      6     allowed me and I felt like I could make a
      7     bigger difference across multiple chains.                      If
      8     I could replicate some of the things that I
      9     was doing at Target in any way and help other
     10     chains and be involved, personally I think I
     11     could help make a difference.
     12              Q.        And in that vein, did you have
     13     a particular focus as senior director of
     14     regulatory affairs at McKesson?
     15              A.        Yeah, I was hired to focus on
     16     the chains and -- oh.
     17              Q.        Go ahead.
     18




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     13                        MS. HENN:       Thank you,
     14              Mr. Hartle.        I have no further
     15              questions.
     16                        Should we go off the record?
     17                        MR. RAFFERTY:         Yeah.     Yeah,
     18              I'll swap back around.             I've got to
     19              grab a couple of documents.
     20                        VIDEOGRAPHER:         The time is 6:00
     21              p.m., and we're going off the record.
     22               (Off the record at 6:00 p.m.)
     23                        VIDEOGRAPHER:         The time is
     24              6:03 p.m., and we're back on the
     25              record.

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      1                      REDIRECT EXAMINATION
      2     QUESTIONS BY MR. RAFFERTY:
      3              Q.        Mr. Hartle, you were just asked
      4     some questions by your counsel.                 I just want
      5     to follow up on a couple of them.
      6              A.        Sure.
      7              Q.        First of all, you were asked
      8     about the evolution of the CSMP.
      9                        Do you recall that?
     10              A.        I do.
     11              Q.        And you talked about how you
     12     continued to make improvements throughout
     13     from 2008 forward, correct?
     14              A.        I remember that.
     15              Q.        All right.       From 2008, you'll
     16     agree with me, though, that your company,
     17     McKesson, made an awful lot of mistakes that
     18     fed and created the opioid epidemic for many,
     19     many years, correct?
     20




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      5     QUESTIONS BY MR. RAFFERTY:
      6              Q.        Okay.     And now that you're
      7     making -- I think what I showed you earlier,
      8     that now with your evolution of your CSMP,
      9     you now went from making zero -- for many
     10     years making zero suspicious order reports to
     11     making hundreds of thousands now.
     12                        But my question is this:
     13     Because now you are making hundreds of
     14     thousands, we shouldn't -- you don't think
     15     that that should absolve McKesson of the
     16     deaths that you saw with my partner, Mike
     17     Papantonio, that were created because of the
     18     oversupply and McKesson shipping suspicious
     19     orders throughout the country, right?
     20                        MS. HENN:       Objection to form.
     21                        THE WITNESS:        Could you ask
     22              that, please, again?
     23     QUESTIONS BY MR. RAFFERTY:
     24              Q.        Yeah.     Yeah.
     25

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      4              Q.        But they're a customer of --
      5              A.        They're a customer of
      6     McKesson's.
      7




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      1




     17     QUESTIONS BY MR. RAFFERTY:
     18              Q.        Now, also, you mentioned -- you
     19     were asked questions about your work at
     20     Target.       So you said you actually did some
     21     work in the pharmacy, in pharmacy security
     22     and that type of thing at Target, right?
     23              A.        Yeah, I had a team -- yeah, in
     24     a variety of different ways over the course
     25     of time.

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      1              Q.        And were you there in 2012?
      2              A.        I was.
      3              Q.        Were you there in 2012 when
      4     Target paid a $232,000 fine for overcharging
      5     cities, municipalities, for prescription drug
      6     coverage?
      7                        MS. HENN:       Objection to form.
      8                        THE WITNESS:        I was there
      9              during that time frame.
     10     QUESTIONS BY MR. RAFFERTY:
     11              Q.        Do you recall that?
     12              A.        I actually don't.
     13              Q.        You don't?
     14              A.        Not top of mind.
     15              Q.        Well, you said that you'd also
     16     worked in doing some diversion, right, when
     17     you were at Target, or worked in the
     18     diversion prevention at Target?
     19              A.        Right.     Right.
     20              Q.        So when you came to -- when you
     21     came to McKesson then, you certainly should
     22     have known the responsibilities and duties of
     23     a distributor of drugs, of narcotics, under
     24     the Controlled Substances Act, right?
     25                        MS. HENN:       Objection to form.

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      1                        THE WITNESS:        I knew what they
      2              were.
      3     QUESTIONS BY MR. RAFFERTY:
      4




     15                        MR. RAFFERTY:         Nothing further.
     16                        MS. HENN:       Thank you.
     17                        Before we go off the record the
     18              last time, I would just, again, ask
     19              the court reporter to please mark the
     20              transcript highly confidential pending
     21              review as ordered by the Court, and we
     22              will also reserve the right to read
     23              and sign.
     24                        Thank you very much.
     25                        VIDEOGRAPHER:         The time is

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      1              6:11 p.m., August 1, 2018.              Going off
      2              the record completing the videotaped
      3              deposition.
      4           (Deposition concluded at 6:11 p.m.)
      5                           – – – – – – –
      6

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      1                              CERTIFICATE
      2
      3                I, CARRIE A. CAMPBELL, Registered
            Diplomate Reporter, Certified Realtime
      4     Reporter and Certified Shorthand Reporter, do
            hereby certify that prior to the commencement
      5     of the examination, Nathan J. Hartle was duly
            sworn by me to testify to the truth, the
      6     whole truth and nothing but the truth.
      7                I DO FURTHER CERTIFY that the
            foregoing is a verbatim transcript of the
      8     testimony as taken stenographically by and
            before me at the time, place and on the date
      9     hereinbefore set forth, to the best of my
            ability.
     10
                       I DO FURTHER CERTIFY that I am
     11     neither a relative nor employee nor attorney
            nor counsel of any of the parties to this
     12     action, and that I am neither a relative nor
            employee of such attorney or counsel, and
     13     that I am not financially interested in the
            action.
     14
     15
                     ____________________________
     17              CARRIE A. CAMPBELL,
                     NCRA Registered Diplomate Reporter
     18              Certified Realtime Reporter
                     California Certified Shorthand
     19              Reporter #13921
                     Missouri Certified Court Reporter #859
     20              Illinois Certified Shorthand Reporter
                     #084-004229
     21              Texas Certified Shorthand Reporter #9328
                     Kansas Certified Court Reporter #1715
     22              Notary Public
     23              Dated: August 6, 2018
     24
     25

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      1                     INSTRUCTIONS TO WITNESS
      2

      3                     Please read your deposition over
      4     carefully and make any necessary corrections.
      5     You should state the reason in the
      6     appropriate space on the errata sheet for any
      7     corrections that are made.
      8                     After doing so, please sign the
      9     errata sheet and date it.              You are signing
     10     same subject to the changes you have noted on
     11     the errata sheet, which will be attached to
     12     your deposition.
     13                     It is imperative that you return
     14     the original errata sheet to the deposing
     15     attorney within thirty (30) days of receipt
     16     of the deposition transcript by you.                   If you
     17     fail to do so, the deposition transcript may
     18     be deemed to be accurate and may be used in
     19     court.
     20

     21

     22

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     24

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      1                  ACKNOWLEDGMENT OF DEPONENT
      2
      3
      4                        I,______________________, do
            hereby certify that I have read the foregoing
      5     pages and that the same is a correct
            transcription of the answers given by me to
      6     the questions therein propounded, except for
            the corrections or changes in form or
      7     substance, if any, noted in the attached
            Errata Sheet.
      8
      9
     10
     11
     12     ________________________________________
            Nathan J. Hartle                             DATE
     13
     14
     15     Subscribed and sworn to before me this
     16     _______ day of _______________, 20 _____.
     17     My commission expires: _______________
     18
     19     Notary Public
     20
     21
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Case: Highly
      1:17-md-02804-DAP Doc #:-1978-4
               Confidential           Filed:to07/24/19
                                Subject         Further516Confidentiality
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                                                                               Review

      1                            – – – – – – –
                                         ERRATA
      2                            – – – – – – –
      3      PAGE      LINE     CHANGE
      4      ____      ____     _____________________________
      5      ____      ____     _____________________________
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Case: Highly
      1:17-md-02804-DAP Doc #:-1978-4
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                                Subject         Further517Confidentiality
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                                                                               Review

      1                            – – – – – – –
                                   LAWYER'S NOTES
      2                            – – – – – – –
      3      PAGE      LINE
      4      ____      ____     _____________________________
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